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     photographed by CSI Pavlik and then videotaped by myself. The search
     was concluded at approximately 3:05 p.m. whereupon Detective Recarey
     and I were the last two officers in the house. Upon securing the
     residence we met with the gentleman who identified himself to
     Detective Recarey as the lawyer for the defendant and he was informed
     that the residence was secured and that copies of the inventory return
     had been left on the first floor table of the personal assistant's
     office.
     Detective Recarey and I returned to Police Headquarters and secured
     for the day.


***************************NARRATIVE                # 14 **************************
~                            Reported By: DAWSON, MICHAEL C .              11/07/05
                             Entered By.; ALTOMARO, NICKIE A .             11/07/05
     on October 2 0, 2 0 05 , I assisted Defective Recarey in the execution of
     a search warrant at 358 El Brillo Way, Palm Beach, Florida, 33480.
    Upon the announcement of the search warrant , immediate contact was
    made with three white males who came out of the house or surrounding
    structures. Those males were identified as Janusz Banasiak, Daniel
    Estes, and Mark Zeff. As other members of the police department
    cleared the home, I kept watch over these three males. Once the house
    was cleared, those males were turned over to Detective Reca:rey .
    Detective Dicks and I were assigned to assist in the search of the
    main house, the cabana and the servant's quarters. We started in the
    garage . All areas of the garage were searched to include four
    vehicles . These vehicles were three black Mercedes Benz cars
    registered to Jeffrey Epstein. The fourth vehicle was a Harley
    Davidson motorcycle, green in color, registered to Jeffrey Epstein .
    Nothing was recovered from the garage.

    A towel closet and pantry located off the kitchen were searched and
    yielded negative results .

    Th~ kitchen was searched and taken into evidence was a phone message
    book: that was located near a house phone.
    North of the kitchen was an office room which contained a computer.
    The room had a closet that contained a locked gun locker . The
    combination was entered by Banasiak in the presence of Sgt. Frick and
    the safe was opened. Items were taken from the room. See the
    completed property receipt for a detailed list.

    A green bathroom located on the first floor was searched and nothing
    was taken.

    A closet located just west of the green bathroom was searched. Two
    massage tables were located in the closet along with a photo of a nude




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      female from the waist up .     See the property receipt for details.
      I searched two bedrooms and their adjoining bathrooms, which were
      located on the second floor on the East side of the house.  In the
      Northeast bedroom closet I found adult sex toys called Twin Torpedoes.
       Soap made in the shape of a penis and vagina were also found in these
      upstair bedrooms . See the property receipt for details .

     I searched the pool cabana located on the South side of the pool .
     Photos were taken from the wall . See the property receipt for
     details.

     I assisted in the search of Banasiak ' s living quarters. Numerous CDs
     along with a message book was seized. See the property receipt for
     details .

** *************************NARRATIVE            # 15 **************************
!\                     Reported By: RECAREY , JOSEPH                    11/08 / 05
                       Entered By . : ALTOMARO , NICKIE A.              11/08 / 05

     On November 1 , 2005, I was contacted by Atty . Gus Fronstin , who
     advised he was willing to assist with the investigation. Atty.
     Fronstin advised he would try to have his client , Jeffrey Epstein
     available to be interviewed.   I explained I would be interested in
     conducting an interview with his client as well as other employees
     that are employed within the house. Atty. Fronstin advised he would
     return my call once he received confirmation on the interviews.

     On November 6 , 2005, I attempted contact with                  at her
     residence.  I left a business card for her to return my call. Upon
     returning to the police department , I had received a t elephone call
     from
     with
           I :         ■   I returned her call a t ~ and spoke
                    She made arrangements to respono to the station to
     provide an interview. At approximately 3:30 pm, she arrived at the
     Palm Beach Police Stat i on with her boyfriend . Her boyfriend was
     allowed to sit in the lobby area while Ms . . .■■111,was interviewed.

     I took Ms•••► to the Detective Bureau Interview room. I closed the
     door for privacy and explained to her that I appreciated her coming to
     the police station for the interview. During the sworn taped
     statement, she advised she was at Jeffrey Epstein s house one time.
     Appro~i~~~e;~ 5 t~~t~~~t~:ra~~~~~~e~a~ 0 a~~~~a~~:~ ~rii~kg!~~~~
     advised she was in need to make some quick cash to make the rent that
     month . She agreed to go to the house. She had been told by . . . .
            that the massage would have to be done in her underwear . Sne
     advised•••drove with her and brought her into the house. They
     walked into the kitchen area and took the stairs upstairs.
     further stated she was b r ought into a master bedroom area. She
     advised she recalled seeing portraits of naked women throughout the
     room. A massage table was already out near the sauna/shower area in
     the master bedroom . Epstein entered the room wearing only a towel and




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        introduced himself as Jeff. l■■•advised she recalled she and
        removed their clothing down to their panties, Epstein lay on his
        stomach area and they provided a massage on his legs and feet area. I
        asked          if she had any formal massage training and she replied
        no.           advised she was topless and the panties she wore were the
        boy shorts lace panties. She and41••~continued the massage until
        the last ten minutes of the massage, Epstein, told••■tto leave the
        room so that1111■■■ could finish the massage.
          got dressed and Epstein turned over onto his back. Epstein then
    removed the towel, which had been around his waist. Epstein laid
    there naked and requested that • • • • r u b his chest area.
    stated as she did this, Epstein, began masturbating as she rubbed his
    chest: ••••stated he pulled down her boy short panties and he
    produced a large white vibrator with a large head. She stated it was
    within a drawer in bis master bathroom. He rubbed the vibrator on her
    vagina area. ••■•advised he never penetrated her vagina with the
    vibrator.
    He continued to rub her vagina with the vibrator as he continued to
    masturbate. ••••stated she was very uncomfortable during the
    incident but knew it was almost over . Epstein climaxed and started to
    remove himself from the table. He wiped himself with the towel he had
    on previously and went into the shower area. -■■ltgot dressed and
    met with====in the kitchen area. Epstein came into the kitchen and
    provided        $200.00 for bringing•lllil-~and paid $200.00 to
    for providing the massage. -■■-was told to leave her telephone
    number with Sarah, his assistant for future contact.     •••provided
    her cellular telephone number for future contact .         was asked
    if she was recently contacted about this investigation by anyone from
    the Epstein organization . She replied she was called but it was for
    work. She stated she was called by Sarah for her to return to work
    for Epstein. ••■•stated work is the term used by Sarah to provide
    the massage in underwear. -■■•advised she declined, as she was not
    comfortable in providing that type of work. The interview was
    concluded and the videotape was placed into evidence.
    Investigation Continues . .

~************************* N ARRATI V E         # 16 **************************
                        Reported By: RECAREY, JOSEPH                   11/10/05
                        Entered By.: ALTOMARO , NICKIE A.              11/10/05
   On November 7, 2005, I made telephone contact with                 who
   advised she would be able to meet with me at her home. Det. Sandman
   and I traveled to her home in'll■•tl■■         and made contact with
              During a sworn taped statement,          stated she met
   Jeffrey Epstein through Haley Robson. Robson would approach females
   who wished to work for him. ••■■~ stated she was asked to.work for
   him but declined. •■■■9explained that work means give massages.
   She was asked about any formal training in providing massages to which
   she said no. •■■■i.,said she accompanied Robson and other females




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'ase No . . . . : 1-05- 000 368                                    (Continued )
      who were taken to Epstein s house to provide massages.
      further stated she had been to the house appJoxima-el  4 . or 5 times in
      the past year. She accompanied Robson withl           I
     I 3      • • • • · • • • the 14-year-old victim, and                   .
      Eacn time the girls were taken over, they were previously told they
     would have to provide a massage, possibly naked. It was also told that
     should Epstein require them to do anything extra and they were not
     comfortable just - to tell him and he would stop. ••■•• stated
     Robson received $200.00 for each girl she brought over to massage
     Jeffrey Epstein. When I asked which girl appeared to be the youngest ,
     she replied, the victim, as she stated she was fifteen years old at
     the most; she looked really young. 111•■■- further stated each time
     she went to the house, she sat in the kitchen and waited with Robson
     until the massage was over. She further stated that the cook would
    make lunch or a snack for them as they waited. I asked her if there
    was anything that caught her attention within the home .
    stated there were a lot of naked girls in photographs throughout the
    house. The interview was concluded and the tape was turned into
    evidence.
    Investigation Continues . .
**************************NARRATI V E        # 17 **************************
                     Reported By: RECAREY , JOSEPH                  11/10/os
                     Entered By.: ALTOMARO , NICKIE A.              11/10/05
   Det. Dawson and I attempted contact with                  in
            I left my business card at her front door. Ms
   returned my call and arranged a meeting with me at the Palm Beach
   Police Department for November 8, 2005. At approximately 2:00pm,
           arrived at the Palm Beach Police Department. She was brought
   into the interview room and the door was closed for privacy. She was
   told that I appreciated her coming to the police station for
   questioning regarding an on going investigation. She was told that I
   was investigating a crime involving Jeffrey Epstein and knew, based on
   the investigation, that she had encounters with him in the past .
   During a sworn taped statement, . . . . . stated she had met Epstein
   approximately two years ago. She was first introduced to Epstein by
   Haley Robson. Robson approached her about working for Epstein and
  providing a massage to him for $200.00. The arrangements were made
  and as Robson could not take her the day the arrangements were made,
  ■             took ■••• •••► also attended
          and was familiar with Epstein.
           recalled she was brought there and entered through the back
   kitchen door. She had met with an assistant Sarah and another
   assistant Adrianna. Sarah brought her upstairs as she observed
   several photographs of naked females throughout the house.
   stated Epstein came in the room, wearing only a towel, and laid on the
   table. ••■■tstated he picked out the oils he wanted her to use and
   requested she remove her clothing to provide the massage.
   stated that on the first massage she provided she did not remove her




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        clothing. 'W■■■t stated she had returned several times after that.
        Each time she returned more things happened. • • • • stated that the
        same thing would happen . Epstein would walk into the master
       bedroom/bathroom area wearing only a towel. He would masturbate as
       she provided a massage. • • • • stated she was unsure if he climaxed
       as he masturbated under the towel . Additionally she never looked blow
       his waist. She claimed that Epstein would convince her to remove her
       clothes. She eventually removed her clothes and stayed in her thong
       panties. On occasion, Epstein would use a massager/vibrator, which
       she described as white in color with a large head, on her. Every time
       she provided a massage he would masturbate.             added she has no
       formal training in providing a massage.              tated she brought
       two females during her visits to provide massages.              stated she
       brought.a girl named       and            .       from
      IS I         . ~ s t a t e d she received $200.00 for each girl she
       brought. Additionally, G'td1111 was given $200 . 00 for taking her in the
       very beginning . The interview was concluded and the tape was placed
       into evidence.
       Investigation continues . . .

~**** ************** ********NARRATI V E          # 18 **************************
.\                        Reported By: RECAREY, JOSEPH                   1 1/ 13 /0 5
                          Entered By.: ALTOMARO , NICKIE A.              11 / 14 /0 5
      On November 8 , 2 005 , I made telephone contact with               W/F ,
                   at her residence . •■■•responded to the police station
      for an interview reference an ongoing investigation . At approximately
      2:30 pm, she arrived at the Palm Beach Police Station and was brought
      into the interview room for the interview. The door was closed for
     privacy and she was told that I appreciated her cooperation in this
      case. During a sworn taped statement,••■~stated she had met
     Jeffrey Epstein approximately one year ago . She was approached by a
      subject known to her as q      ■      ••t had asked her if she wanted
     to make money providing massaqes to E2stein.             ad heard that
     several girls from I            ■                   were doing this and _
     making money . She agreed and was taken to the house by
     had introduced her to Sarah and Epstein and brought her upstairs to a
     master bedroom and Master bathroom where a massage table was prepared
     and the proper oils were taken out . •••~eft the room and waited
     downstairs f o r • • · •         stated Epstein entered the room wearing a
     towel and she provided a massage wearing only her thong panties.
            advised Epstein had masturbated every time she provided a
     massage. She stated Epstein continued to masturbate until he
     climaxed; once that occurred the massage was over. She felt the whole
     situation was weird but she advised she was paid $200.00 for providing
     the massage. She also stated:il-•received $200.00 for bring4••to
     Epstein .
           stated she had gone a total of 15 times to his residence to
     provide a massage and things had escalated from just providing a




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        massage . Epstein began touching her on her buttocks and grabbed her
        closer to him as he masturbated . Epstein also grabbed her breasts and
        fondled her breast with his hands as she provided the massage.
        stated on one occasion, he offered extra monies to have vaginal
        intercourse. She stated this all occurred on the massage table.
          •    stated Epstein penetrated her vagina with his penis and began
        having intercourse with her until he reached the point of climax.
        Epstein removed his penis from her vagina and climaxed onto the
        massage table. •■-freceived $3S0.00 for her massage.      I asked her
        if she had any formal training in providing massages,a•lilllstated she
        did not .

          continued to state on one other occasion, Epstein introduced his
    assistant, Nada , into the massage. Nada was brought into room with
          to provide a massage. Epstein had them kiss and fondle each
    other around the breasts and buttocks as they provided a massage to
    Epstein. Epstein, watched and masturbated as this occurred . On other
    occasions, Epstein introduced the large white vibrator/massager
    during the massage. Epstein stroked the vibrator/massager on
    vagina as she provided the massage.
          stated the last time she spoke with anyone at the house, was
    with Sarah during the weekend of October 2 or 3, 2005. • • • stated
    she had brought two 5eople to the Epstein house. She provided the
    names of 6§              and•■• (unknown last name).      It should
    noted,••1111--had been previously identified as                and had
    been previously interviewed. The interview was concluded and the
    videotape was placed into evidence via the locker system.

    On November 9, 2005, Sgt Frick and I traveled to 6791 Fairway Lakes
    Drive in Boynton Beach, Florida in hopes to interview Juan Alessi, the
    former houseman of Epstein's home. As no one was home, a business
    card was left for him to return my call . We then traveled to 11349 SW
    86th Lane in Miami in hopes to interview Alfredo Rodriguez 1 a former
    house man of Epstein. We did not locate them at home.   I left a
    business card for him to return my call .

    We ,. .then traveled t o • • •        ]t:,and met with Dean of Students, Mr .
              ,  We requested to speak with ••■■M•••          C     was re
   interviewed, as she still was in possession of the rental car that
   Epstein had acquired for her.      ■   stated that Sarah, Epstein's
   assistant, had called her on her cellular telephone and informed her
   that rental was extended for her. Sarah stated she had paid an
   additional $625 . 00 for her to keep the rental an extra month.
   was asked if she had any additional contact with either Epstein or
   anyone from his organization. •••~stated she did not, other than
   the telephone call informing her that she could keep the car for an
   extra month. •••► did not provide any additional information.
   On November 10, 2005 , at approximately 9:47 am, Alfredo Rodriguez had
   telephoned reference my business card found on his door . Rodriguez
   stated he had worked with Epstein for approximately six months after




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        the previous houseman left . Rodriguez stated that it was his
        responsibility to keep the identity of the masseuses private.  Mr.
        Epstein had a massage in the morning and one in the afternoon.   Mr.
        Rodriguez stated he would rather speak about this in private.  He
        advised he would come to the police station to spea~ with me.
        Rodriguez stated he would return my call on Monday, November 14, 2005 .

       I then made telephone contact with Juan Alessi. He advised he found
       my card on his door and wanted to know what I needed to speak with him
       about.  I explained to Alessi that I was conducting an investigation
       on his former employer, Mr. Epstein. Alessi stated he would return my
       call shortly as he was in the middle of a project at his home.   I
       received a telephone call from Attorney Donald Morrell from 686-2700.
       Mr. Morrell stated he represented Mr. Alessi and did not want me
       speaking with his client. I then made telephone contact with the
       State Attorneys Office and confirmed that subpoenas would be issued
       to the former employees to assist in the investigation.
       I then made telephone contact with Attorney Guy Fronstin, attorney for
       Mr - Epstein. I explained to Mr . Fronstin that I would like to speak
       with Mr. Epstein" He stated Mr . Epstein is not in residence in
       Florida at this time and would check with him to ascertain if he could
       be here by Wednesday November 16, 2005 for an interview. Mr. Fronstin
       stated he would return my call should Mr . Epstein decide to come in to
       the police station for an interview .

       Investigation continues .

** ************************NARRATIVE            # 19 **************************
                      Reported By: RBCAREY , JOSEPH                    11/15 /0 5
                      Entered By . : ALTOMARO , NICKIE A.              11/16 /0 5


   t            •••••••1••••
       On November 14, 2005 , Det. Sandman and I traveled to
          ■ in                       and spoke w i t h • • • • • •
       told of the ongoing investigation involving Epstein .
                                                                      She was
                                                                      advised
       she had gone to the house on several occasions. During a sworn taped
       statement, she advised she start■aitng to the house approximately
       one year ago and was brought by         (Unknown last name).
       stated41•■    brought her into the house and she was introduced to a
       girl named Sarah. Once she met her, Sarah brought her upstairs into a
       master bedroom bathroom. Gll■■■-►stated she met Jeffrey in the
       bathroom. He lay on the table and picked the massage oils. She
       provided the massage, as he lay naked on the massage bed. She stated
       she rubbed his calves and back area. Upon the end of the massage,
       Epstein removed himself from the massage table and paid her $300. 00
       for the massage.

  "'I       ►.stated she had only been at the house approximately five or
   six times. --••••said each time she went to the house she was
   u
   notified by Sarah, Epstein's assistant, that Epstein was in town and
   would like her to work. •■■--stated she returned to the house and
   was again led upstairs by Sarah. She provided the massage , clothed .




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    ~        advised it wasn't really weird until later on .              was
    askedi.f she ever removed her clothing to provide a massage.
    stated it was not until the third time she went that she removed her
    clothing. - . , s t a t e d she was notified by Sarah that Epstein
    wanted her to come to work. She arrived at the house and was led
    upstairs by Sarah. She started providing the massage when Epstein
    asked her to remove her clothing . •••••removed her pants, shirt
    and bra. She stayed in her thong panties and continued rubbing
    Epstein. Epstein turned over onto his back and she rubbed his chest
    area .     •       stated she knew he was masturbating himself as she
    providing the massage . •-•••► stated she believed he climaxed based
    on his breathing. She did not want to view either the climax or the
    fact that he was masturbating. •••■•stated once the breathing
    relaxed he got up and told her to get dressed. She was paid $3 00.00
    for her services.
              stated on the last time she went to provide a massage , she
    was notified by Sarah to come to the house and work.      [      stated
    she was now dating her current boyfriend and did not feel comfortable
    going. She recalled it was approximately January 2005. She said she
    went, already thinking that this would be the last time . She went
    upstairs and went into the master bathroom. She met with Epstein,
    who was wearing only a towel as he entered the room to lie on the
    table. •••••stated Epstein caught her looking at the clock on
    several occasions. Epstein asked her if she was in a hurry.            .._
    stated her boyfriend was in the car waiting for her.             further
    stated that Epstein got upset, as she wasn 1 t enjoying the massage.
    She told him that she didn't want to continue and she would not be
    back. Epstein told her to leave as she was ruining his massage.      I
    asked her if she had any contict with Epstein's· organization, she
    stated she received $200.00 from Western Union in Royal Palm Beach and
    Okeechobee Blvd as a Christmas gift . •■■        advised she had no
    formal training in provide any massages.       •••also stated she was
    sixteen years old when she first went to Epstein 1 s house.
   At approximately 4:22 pm, I made telephone contact with
   at-•■•• She agreed to meet with me at a public place.         I
   suggested she come to the police station for an interview. Mid     did
   not want to meet at the police station. I recommended we meet at the
   Palm Beach Gardens Mall in the food court area. She agreed and an
   appointment was made for November 15 , 2005 at 5:00 pm at the food
   court.
   Investigations Continue.
~*************************NARRATIVE         # 20 **************************
                    Reported By: SANDMAN, JENNIFER R.              11/16 / 05
                    Entered By.: ALTOMARO , NICKIE A.              11/17 / 05
        On 10 / 2 0/ 2 00 5 , I assisted executing a search warrant at 358 El
   Brillo Way in the Town of Palm Beach, Palm Beach County Florida under
   the direction of affiant Detective Joe Recarey .




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          Detective Melnichok and I searched the pantry room that is west
     next to the kitchen. This room had all white cabinets with a dark
     grey and black counter top. We did not find anything in this room .

          We searched the yellow and blue room that is west next to the
     pantry room. This room had a very large statue of man with a bow.
     Taken into evidence from this room were nine photographs in frames of
     various women .

         We searched the main entrance foyer that is to the north of the
    yellow and blue room. This room contained two bamboo chairs and
    ottomans with cushions. It also contained a round table with numerous
    books.

         We searched another blue room that is west of the foyer.   This
    room had a stereo system and book shelves that were from the floor to
    the ceiling , Taken into evidence from this room were eiqht
    photographs in frames of various women and/or Epstein , the owner of
    the residence .
         We searched the room to the west of the blue room that has
    sliding glass doors that lead out to the pool.  In this room in a
    dresser were two DVD's and two VCR tapes. These items were taken into
    evidence.
         We searched a 2004 black Chevy Suburban bearing Florida tag
    X99-EGL, registered to Jeffrey Epstein DOB 01/20/53, which was located
    on the east side of the driveway facing south.   I found a ~hrifty
    rental agreement between the passenger seat and the middle console.
    The name on the rental agreement was Johanna Sjoberg from 622 Holly
    Drive Palm Beach Gardens, Florida 33410. The phone number on the
    rental agreement was (561) 714-0546. The vehicle rented was a white
    2005 Chrysler Sebring bearing Florida tag W99-FUN. The vehicle was
    rented on 9/25/05 at 17:58 hours and was returned on 9/26/05 at 16:52
    hours.   The last four numbers of the credit card used are 9821.
    Detective Melnichok found a piece of paper in the middle console that
    said I used the cash in here to fill up the tank and was signed by
    Johanna.
         I searched the 2005 black Cadillac Escalade ESV bearing Florida
    tag Q29-9GT, registered to Jeffrey Epstein dob 01/20/53 , which was
    located on the west side of the driveway facing south. I did not find
    anything in this vehicle.

         All of the items that were taken into evidence were photographed
    in the place they were located and then turned over to crime scene.


**************************NARRATIVE           # 21 **************************
                     Reported By: RECAREY 1 JOSEPH                   11 / 17 / 05
                     Entered By. : ALTOMARO , NICKIE A .             11 / 17 / 05




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     on November 15 1 2005, Det , Sandman and I traveled to
            in•■■-•••••• We met with                            a
     seventeen-year old juvenile who was not in school this day due to a
     cold from which she was suffering. L          J was told that I needed to
     speak with her in reference to an ongoing investigation involving a
     subject she would know as Jeffrey Epstein . Prior to speaking with
     her, I explained that because of the fact that she is a minor, I
     needed to speak with her parents prior to speaking with her. She
     telephoned her father, Mr.                 , on his cell phone and
     explained to him that Det. Sandman and I were there to speak with her .
     I spoke with Mr. - o n the telephone and informed him I needed
     to speak with his daughter in reference to an ongoing investigation.
     M r . • • • • • advised he had no problem with us speaking wi th his
     daughter.
     During a sworn taped statement,           stated she met Jeffrey
     Epstein over a year ago. She was sixteen years of age and was
     approached by •••ll'l•••who informed her that she could make monies
     providing a massage to Epstein for $200.00. •••►had informed her
     that she would have to provide this massage topless.          made the
     arrangements with Epstein and his assistants and took            to the
     house.    ••••1   stated
     that led into a kitchen.
                                    and she entered through a glass door
                                      took her upstairs, to a master bedroom
     and master bathroom. She recalled the bathroom had a large pink
     couch, sau.na and matching shower. Epstein entered into the room
    wearing only a towel. I ■       I ana••aremoved their clothing
     remaining only in thong underwear. She further stated that Epstein
     lay on his chest on the table. Epstein selected which oils to use for
     the massage. Bothtl■■•anda••••provided the massage on his
    legs, back and feet. Forty minutes into the massage, Epstein turned
    over onto his back and requested••• wait downstairs in the kitchen
    area for g £       • Epstein instructed • • • • • t o finish the massage .
    As • • • g o t dressed,ill••■astarting rubbing his chest.
    left the room, and Epstein began masturbating himself as
    rubbed Epstein s chest. •••■• stated he continued masturbating
    until he climaxed on the towel he was wearing. When asked if he had
    removed the towel she stated he turned the towel around so that the
    opening would allow him to expose himself. After he cleaned himself
    off with the towel, he instructea••••~the massage was done and to
    get dressed and met with him downstairs. •■■■-got dressed and met
    with Epstein in the kitchen area. She was paid $200.00 dollars for
    providing the massage. ••■•ll~tated she was aware t h a t • • • also
    received monies for the same thing,
   The second time she went to the house she was again approached by
                  asked if she wanted to return to the house to provide
   another massage;fil••••agreed and the arrangements were made by
  •£     for her to return to the house . . .• • • • stateq   I t drove her
   to the house and knocked on the same glass door that leads to the
   kitchen area. They were allowed entry into the house by one of the
   staff members . •■-•ed her upstairs to the master bedroom and




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    master bathroom area. ••a1eftllil•■-this time to do the massage
    alone. Epstein entered the room again wearing only a towel. e:y
    began removing her clothing as she did the last time she was at the
    house.  Epstein instructed her to get naked. He lay on the table on
    his stomach as . .• • • ~ began massaging his legs and back .
    As . .■■■•finished with Epstein•s back and legs, Epstein then turned
    over onto his back.           started to rub his chest and he began
    masturbating himself. As             rubbed his chest, Epstein leaned
    over and produced a massager/vibrator. He turned it on and began
    rubbing••••■•vagina and masturbating himself at the same time.
             stated she continued to rub his chest as this was occurring .
   She described the vibrator/massager as large, grey with a large head .
   Epstein rubbed her vagina for approximately two to three minutes with
   the massager/vibrator. He then removed the vibrator from her vaginal
   area and concentrated on masturbating himself. •         ■ stated he
   climaxed onto the towel again and informed her that the massage was
   done. •■••• got dressed and met with•••who was waiting in the
   kitchen area. She received $200 . 00 for the massage.         ••••a
   she never returned to the house and had no desire to return to the
                                                                     said
   house.   1111•••• was asked if she received any formal massage
   training. She advised she had no formal training. •••■•was asked
   if Epstein knew her real age . II ,1±      stated he knew as he asked her
   questions about herself and high school , He was aware she attended
   and is still attending ii
   The interview was concluded . I suggeste,bll   □I   inform her parents
   of what occurred at the Epstein house.            stated she would tell
   her father as he was unaware this had occurred. I left my business
   card for any questions they may have. We left the area and returned
   to the police station. The tape was placed into evidence.
   Investigation Continues.
**************************NARRATIVE          # 22 **************************
                    Reported By: RECAREY , JOSEPH                   11/17 / 05
                    Entered By . : ALTOMARO, NICKIE A.              11/1 7/ 05
  On November 15, 2005, Officer Munyan and I responded to the Palm Beach
  Gardens Mall food court section to meet with llil•a ■•••       At
  approximately 5:10 p.m.,••••arrived and met with us at the food
  court. 11■■-tprovided a sworn taped statement in which she stated
  she had been at the Epstein house over fifty times . She began going
  to Epstein 1 s house when she turned eighteen years old. ll•ilawas
  asked if she knew of the on-going investigation. ••••stated she
  wa 9 , aware there was an investigation as she had been told by other
  girls that were interviewed. Additionally, she has had several
  telephone conversations with Epstein 1 s assistants as to what had been
  going on during the investigation.
  I asked        how she was introduced to Epstein .         tated she
  did not want to disclose who brought her to the house but she would




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     respond to any other questions. When I asked her what happened at the
     house, •••■ stated everything happened.    It all began with the
     massages. Each time she went more things happened. She would massage
     Epstein and he would masturbate and climax. She stated things
     escalated from there. She provided oral sex on Epstein and he
     provided oral sex on her. She stated he would also use a
     massager/vibrator on her vagina to stimulate her as she massaged him .
     He introduced his assistant Nadia or Nada to have vaginal intercourse
     with·•·~ She stated Nada or Nadia would utilize a strap-on
     (synthetic penis} to have intercourse with her. She was told to
     masturbate herself as Epstein and Nada had sexual intercourse. All
     this was done at Epstein's direction.
              could not Erovide exact dates as she had been to the house so
      many times.       SI stated Epstein inserted his fingers in her vagina
      to stimulate her as she massaged him. When I asked her if there had
      been any vaginal intercourse with Epstein, she stated she did not have
      sex with him. She did admit having sex with Nada, his assistant.
    ,      JJ stated not every time she went involved sexual favors.
       ometimes she would just talk with him and get paid . I asked her how
      much she was paid each time she went to Epstein s residence.
      stated she got paid $300 . 00 every time she went to the house., She was
      told to bring other girls to him to provide massages.           declined
      stating that she does what she does and did not want to introduce
      anyone else to do what she does. •••■ stated she had never received
      any formal training in providing massages.
    I showed        a photo line up in which Nada Marcinkova was placed in
    position six.  She reviewed the six photographs and immediately
    identified Nada Marcinkova as the person with whom she had
    intercourse. Additionally, it was the same person she watched have
    intercourse with Epstein. She signed the photo line-up under Nada
    Marcinkova s photo as the person she identified. We then left the
    mall and returned to the police station. The photo line up and tape
    were placed in to evidence.
    Investigation Continues .. .


**************************NARRATI V E        # 23 **************************
                     Reported By: RECAREY, JOSEPH                   11/29/05
                     Entered By.: ALTOMARO , NICKIE A.              12/01/05

    On November 17, 2 00 5 , I received a phone message from Atty. Guy
    Fronstin who advised to call his cellular phone reference his client
    Jeffrey Epstein.   I telephoned his cell phone and left a message for
    him to return my call. I did not receive a call back on Thursday,
    November 17, 2005. On Friday, November 18 2005, I retrieved another
    voice mail from my work phone from Mr. Fronstin advising he would not
    produce his client Jeffrey Epstein for any statement. Fronstin stated
    he had spoken with ASA Lana Belohlavek and expressed Mr. Epstein has a
    passion for massages.     I called ASA Lana Belohlavek and confirmed that




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     Fronstin had telephoned her reference this case. Although nothing was
     discussed, Mr. Fronstin did advise her that Epstein is very passionate
     about massages .

      I also spoke with ASA Daliah Weiss reference the previous employees,
      Juan and Maria Alessi. She advised that they had been served through
      a subpoena process server. They were both scheduled to appear on
      Monday November 21, 2005 at 12:00 p.m ,

     On November 21, 2005, I met with ASA Weiss, Atty. Donnie Murrell and
     Juan and Maria Alessi at the State Attorney Office. ASA Weiss had
     requested a court reporter to be present to take the statement of the
     Alessi s.    I spoke with Maria Alessi, in the presence of her attorney ,
     Donnie Murrell.    She advised she had worked for Epstein for eight
     years, from the period of 1994 through 2002. She advised she had
     never had any direct conversations with him. She stated it was her
     husband who spoke directly with Epstein. Her work consisted of doing
     house cleaning, shopping and other preparations when Epstein would
     arrive ~Jl town. Alessi stated the preparations consisted of preparing
     the house and bathrooms for his arrival. She advised she did view
     several masseuses that arrived at the house. She advised that two or
     three girls would come during a day and provide the massages. The
     girls that arrived looked young in age. Mrs. Alessi did not know any
     of the girls personally and were always different.    She was told that
     when Epstein was in residence he did not want to encounter the Alessis
     during his stay in Palm Beach.

     I then spoke with Mr. Alessi in the presence of his attorney, Donnie
     Murrell. Mr. Alessi stated that he was employed for eleven years with
     Mr. Epstein. He originally was hired as a part time employee and then
     moved up into a full time position. His duties included everything.
     Alessi stated he was the house manager, driver and house maintenance
     person.  It was his responsibility to prepare the house for Epstein s
     arrival. When asked about cooks or assistants, Alessi stated they
     traveled with Epstein on his private plane. He remembered dealing
     with his girlfriend, Ms. Maxwell originally and then dealt with
     Epstein directly.

    I asked Mr. Alessi about massages that occurred within the home. Mr.
    Alessi stated Mr. Epstein had up to three massages a day.  Each
    masseuse that visited the house was different. Alessi stated that
    towards the end of his employment, the masseuses were younger and
    younger. When asked how young, Mr. Alessi stated they appeared to be
    sixteen or seventeen years of age at the most. The massages would
    occur in Epstein's bedroom or bathroom. There were times he recalled
    that he would set up the massage tables either in Epstein s bedroom or
    in his bathroom.  I asked if there were things going on other than a
    massage. Alessi stated that there were times towards the end of his
    employment that he would have to wash off a massager/vibrator and a
    long rubber penis, which were in the sink after the massage.
    Additionally, he stated the bed would almost always have to be made
    after the massage. Alessi was never privy to what went on during the




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     massages .

     He was asked if he remembered any names of the girls that massaged
     Epstein. He tried to remember and was unable to provide any exact
    names of any girls .- Alessi was asked about any contact with anyone
    from the Epstein organization. Alessi said he did speak with Mr.
    Epstein shortly after my initial contact with him to find out what was
    going on . Alessi also stated that approximately on November 11, 2005 ,
    he was contacted by a private investigator from the Law Office of Roy
    Black.   The investigator had called him to meet with him to ascertain
    what he was going to tell the police. Alessi stated they met at the
    Carrabba s Restaurant in Boynton Beach and discussed the same
    questions I was asking him.   I informed Mr. Alessi and Mr. Morrell
    that as this is an ongoing investigation and anything we discuss
    should be confidential. They both acknowledged the fact that the
    information would be kept confidential. It should be noted that a
    court reporter was present during the interviews and would be
    providing a copy of the statements to me when they become available .

    On November 21, 2005, I received a voice mail from Mr . Fronstin who
    advised he would not be making Mr. Epstein available for any
    statements. He did have some words that he wanted to relay on behalf
    of Mr. Epstein.  I telephoned his office and left a message for him to
    return my call .

    On November 29, 2005, I received a call back from Mr. Fronstin who
    left a voice mail after hours on November 28 , 2005, advising he would
    return my call during normal business hours to speak with me reference
    the case on November 29, 2005 .


****************** ********NARRATI V E               # 24 **************************
                             Reported By: RECAREY 1 JOSEPH                  11/29/05
                             Entered By.: ALTOMARO , NICKIE A.              12/01/05

   On November 29 , 2005 , at approximately 2:30 p.rn. I received a
    telephone call on the department issued cell phone. Mr. Fronstin
   stated he was calling to relay information that Mr. Epstein wished he
   could relay. Mr. Fronstin stated that he would not allow Mr. Epstein
   to speak with me at this time.    He further stated that Mr. Epstein is
   very passionate about massages.    He continued that Mr . Epstein had
   allegedly donated over $100,000 to the Ballet of Florida for massages .
   The massages are therapeutic and spiritually sound for him that is
   why he has had many massages.    Mr. Fronstin stated he appreciated the
   way the investigation has not been leaked out into the media.     I
   explained to Mr. Fronstin that it is as important to protect the
   innocent if the allegations are not substantiated. Mr. Fronstin was
   told of the allegations that the private investigators assigned to the
   case have been portraying themselves as police officers.
   Additionally, I explained that my cell phone had been called by the
   private investigators . Mr . Fronstin advised he was not aware of that
   and advised they were under the direction of Attorney Roy Black in




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     Miami. Mr. Fronstin further stated Epstein had originally called Mr .
     Dershorwitz in Boston, who recommended Roy Black in Miami, who asked
     Mr. Fronstin to assist. I informed him that if and when any charges
     would be presented I would notify him. The call was then terminated .
         Investigation continues .


'***************************NARRATI V E       # 25 **************************
JA                     Reported By: RECAREY, JOSEPH                  12/15/05
                       Entered By.: ALTOMARO, NICKIE A.              12/16/05
      A review of the telephone message books, which were obtained during
      the search warrant, was conducted in which various messages from
     different dates were made to Jeffrey Epstein. The telephone message
     books have a duplicate copy (Carbon Copy) which, once a phone message
      is written into the book , the top copy is then torn on the perforated
     edge and the carbon copy is left in the book.     First names of girls,
     dates and telephone numbers were on the copy of the messages.     I
     recognized various numbers and names of girls that had already been
     interviewed. The body of the messages was time of the day that they
     called for confirmation of 11 work. 11 Other names and telephone numbers
     were located in which the body of the messages were, "I have girls for
     him" or "I have 2 girls for him." These messages were taken by Sarah ·
     for Jeffrey Epstein" Based on the context of the body of the
     messages, I requested subpoenas for subscriber information on the
     telephone numbers and the time frame involved . Copies of the messages
     were made for evidentiary purposes.

     I obtain eaf.£     .
     2003. 1 irst reviewe
                          ad th             b ykearbdoo ks tfodr 200St , 2fOOh4 and
                                 e 2005 year oo an 1 oca e mos o t e
     girls I had spoken with . Additionally, I located
     Based on the corrected name spelling, I was able to locate her to her
     residence in              . On December 8, 2005, Det. CariFto and I
     responded to             . inti•■■■■- I located                 •••■•at
     her home. She advised she is attendingt11••11111•11t•••llllll••and is
     participating in the early release program so she can maintain her
     part time job. As she is still a minor 1 I left my business card to
     have her mother return my call to request an interview with her
     daughter. We then left the area.

      I also had previously researched the telephone number for            and
      telephone number                  A subpoena had been issued for the
      information on 7                The telephone number was registered to
    I        J     of                         A query of•••lllll•■-revealed
      tlat she is the                            and is currently residing at
                                                Det. Caristo and I attempted
     contact witl LI      ,.rith negative results . I left my business card on
     her front door requesting she return my call. We then responded to
    -·   -   ••     ••     •     --   ••   -   ••
                                                 I also attempted contact with
                                                      •   y   •   •




     Mr          with negative results . I left my business card for him to
     return my call .




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       On December 9, 2005, I received a telephone call from      ~
                         mother, who was made aware of the on going
       investigation in Palm Beach. ••••► advised she was told of
       everything that occurred at Epstein's house involving Epstein and his
       staff. She advised she would allow me to question her daughter about
       what occurred and would cooperate with the investigation.
       provided me with-••■a. cellular telephone number to schedule an
       appointment for an official interview. I telephoned her cellular
       telephone and made a tentative appointment for Monday, December 12,
       2005.

       I then received a telephone call from•••          , father of S
               who stated he found the business card on his door.  I
       explained that I was conducting an investigation and needed to speak
       with11-■ as she may have information that could assist in the
       investigation. Mr.••■-•stated that his daughter no longer resides
       with him and has her own trailer in another trailer park. He advised
       he would tell her to call me.


       were made to meet with    t1•••~
       On December 12, 2005, due to a conflict with schedules, arrangements
                                                 on Tuesday, December 13, 2005
       at 5:00 pm. On December 13, 2005, Det. Dawson and I traveled to
                        and met with ■   ···•••••    During a sworn taped
       statement, DA stated that when she was sixteen years old, she was
       taken to Epstein's house to provide a massage for moneift
       stated it was before Christmas last year when       ES     J approached
       her and asked if she needed to make money for Christmas;           stated
       she did and agreed to provide a massage for money . .:==~made
       arrangements to ,take •        to the house and drove        to the house
       to 11 work. 11 •••a,stated she could not remember the street name but
      would be able to drive to the street. They drove to the last house on
      the street and pulled in the last house on left side. They walked up
      the driveway and entered through a side gate which led to a kitchen
      door. They knocked on the door and were encountered by an employee
      who••••described as a '1Spanish looking lady. 11 They informed her
      that they were expected. They were then encountered by a white female
      with long blond hair. •--~was unable to remember the name of the
      white female with blond hair but knew she was Epstein's assistant.
      She was led upstairs by the white female who explained that there
      would be lotions out already and Epstein would choose the lotion he
      wanted her to use. She was led through a spiral staircase which led
      to a master bedroom and bathroom. The massage table was already set
      up in the bathroom. ••••described the bathroom as a large spacious
      bathro~m with a steam room and shower beside it with a sink to the
      right. • • • • w a s introduced to Jeff who was on the phone when she
      enterea. Jeff was wearing a white towel and lay on his stomach so
      that •••-may massage his feet and calves. -•••started the
      massage with the massage oil Jeff chose and rubbed his feet and
      calves. Jeff got off the phone and requested she massage his back as
      well. ••••began rubbing his back and got to the small of his back .
      During the rubbing of his back Jeff asked her to get comfortable.      He




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      requested she remove her pants and shirt. ■■■-removed her shirt
     and pulled her pants off. ••■IJstayed in her bra and thong panties.
       As she finished the small of the back, Jeff then turned onto his
     back. He instructed she rub his chest and pinch his nipples.             As she
     began to rub his chest, Jeff asked her questions about hgself.
              remembered telling him she attended £                    -  Q
                Jeff asked her if she was sexually active. Before -
     could answer, he also asked what sexual positions does she enjoy.
              stated she was shy didn't like talking about those things. She
     continued rubbing his chest. Epstein reached up and unsnapped her bra
     from the front . -■••explained the bra she used had a front
     snapping device. Epstein rubbed her breasts and asked her if she like
     having her breasts rubbed . . . . . . . . said "no, I don I t like that. 11
     Epstein then removed his towel and lay on the bed naked exposing his
     penis t             He beg¥ touching his penis and masturbated as he
     touched her breasts. • ~ •      explained Jeff then touched her vagina
     area by rubbing her vagina with his fingers on the outside of her
     thong panties . •■■•tensed up and stated Jeff was aware that she
     was uncomfortable.
   f[      stated that Jeff told her, "Relax, I'm not going inside." She
    further explained Jeff commented to her how beautiful and sexy she
    was.  Jeff then moved her thong panties to one side and now was
    stroking her clitoris. • • • • said "Jeff commented how hard my cli t
    was," He then inserted two fingers in her vagina and was stroking her
    within her vagina. She tried pulling back to pull out his fingers
    from within her vagina. Jeff removed his fingers from within her
   vagina and apologized for putting his fingers inside her. During this
    time he kept his hand on her vagi!').a area rubbing her vagina.
    stated he rubbed her real hard as he was masturbating. • • • • said he
    climaxed onto the towel he had been previously wearing and got up from
    the table. Jeff told her there was $200 . 00 dollars for her on the
   dresser within the master bathroom. Jeff also told her that there was
   an additional $100.00 that was to be given tc,11■■1 for bringing her
   there to massage him , Jeff told her to leave her telephone number
   with his assistant as he wanted to see her again.      Jeff stated his
   assistant would contact her to work again soon.


          stated she did not.      •••a
   I asked her if she ever received any formal massage training to which
                                      stated it was the only time she
   ever went to work for Jeff and knew what happened to her was wrong .
   She stated she no longer speaks totl■■•because she was upset that
         took her there , She further stated that she had never been
   contacted for any additional work. The interview was terminated and
   we left the area.
   Investigation Continues . . .


•*************************NARRATI V E        # 26 ** * ***********************
                     Reported By: DICKS , ALLEN C.                    12/18/05
                     Entered By.; ALTOMARO, NICKIE A .                12/19/05




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:ase No.           . : 1 - 05 - 000368                                     (Continued)
           On 102005 at approx 0930hrs I assisted with the execution of a
      search warrant at 358 El Brillo Ave, Palm Beach.

          Initially I was assigned to enter the residence and conduct a
     sweep of the premises for safety purposes . I then accompanied CSEU
     tech Pavlik while she photographed the exterior of the house. Once
     this was complete I was assigned to search certain areas of the house
     with Det. Dawson as part of the search warrant.

          We began in the garage, searching three Mercedes Benz vehicles , a
     Harley Davidson motorcycle and adjacent closets in the garage .
     Nothing of evidentiary value was located.

          We then searched two closets off the kitchen area on the east
     side. These can best be described as pantry or storage closets .
     Nothing of evidentiary value was obtained.

          A small office with adjoining bath was then searched. In the bath
     area I located a phone message book with recent messages . This item
     was seized as evidence . Please note this bath and shower area are not
     used as designed but are storage areas containing a variety of items
     to include a gun safe in the shower and assorted household items.

          We then searched a bath area and closet at the base of the main
     stairs in the foyer.  Inside the closet two massage tables were
     located as well as partial nude female photographs. These items were
     later seized as evidence. Nothing of evidentiary value was noted in
     the bathroom .

         We then searched two bedrooms upstairs on the east side of the
    residence . Located in the bath room of the south bedroom was penis
    shaped soap . Located in the bedroom of the northern bedroom was penis
    and vagina shaped soap as well as an adult sex toy. These items were
    seized as evidence.

         We then searched the pool cabana located in the south west corner
    of the property . Several photographs of nude females were seized as
    evidence.

         I was then assigned to stand by with a person I believe was
    Douglas Schoettle. Mr. Schoettle was in the residence at the
    beginning of the search warrant. He was present during the warrant
    service and subsequent search.  I stood by with him until the search
    was completed and I departed the residence.  I had no conversation
    with him regarding the reason for our presence.

         Regarding seized evidence, all items were photographed in place
    and then collected by CSEU personnel .

           This concludes my involvement in this case .




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~ase No . . . .   : 1-05-000368                                         (Continued)
***************************NARRATIVE         # 27 **************************
IA                    Reported By: KRAUEL, CURTIS D.                12/21/05
                      Entered By.: ALTOMARO, NICKIE A.              12/21/05

      On Thursday , October 20, 2005 at approximately 0936 hours, I assisted
      in the execution of a search warrant located at 358 El Brillo Way,
      Palm Beach, Florida, residence of Jeffrey Epstein . I was instructed
      by Case Agent Det . Joseph Recarey, to secure all computer and media
      related material from the residence.

     Upon my arrival I was directed by Det . Recarey to a room designated as
     the Kitchen Staff Office. I observed a, Silver in color, CPU with the
     left side cover removed, exposing the CPUs hardware sitting on floor
     next to a glass type desk. The CPU had no discernable identifiers or
     features indicating a make or model. This CPU was powered off with
     the power cord not plugged in . The keyboard and mouse were atop the
     CPU.    It should be noted that the CPU was not connected to a monitor ,
     p r inter, or other media device . On the back Panel of the CPU, I
     observed an A/V card with RCA jacks attached . This type of hardware
     would allow audio and video to be downloaded onto the CPUs hard disk.
       The ends of the RCA jacks were unattached at the time of the search
     and no external camera was located within this room.

     The CPU was located on the right side of a desk that held a flat panel
     LCD screen. The desk also held another keyboard and mouse, indicative
     of a second computer; however, no other computer was found.   It
     appeared as though a second computer had been recently removed as the
     cables ends from the monitor, keyboard and mouse were in the same
     area. A further search of the room revealed no media storage devices ,
     i . e. CDs, Floppy Disks, Zip Disks, etc. This type of media is
     commonly stored in an area where computers are placed , yet no media
     was found.
     After completing a search of this room, I secured the CPU and turned
     all items over to the Evidence Custodian for future forensic analysis
     via a property receipt.

     I was then directed by Det. Recarey to a room designated as the Garden
     Room, where I observed a wooden desk facing west. The desk held a
     flat screen LCD monitor, keyboard, mouse, media card reader and
     printer; however, no CPU was located. All of the cables were removed
     from an area where a computer had once been. A search of the desk
     area revealed no signs of any media devices.

     Det. Recarey directed me to a third location designated as the Cabana
     room, which is detached from the residence and located just south of
     the pool.  In the South East corner of the room, I observed an office
     type setting, with an L-shaped desk holding a flat screen LCD monitor,
     keyboard, mouse and printer; however, no CPU was located , All of the
     cables were removed from an area where a computer had once been . A
     search of the desk area revealed no s i gns of any media devices .




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      Det. Recarey directed me to a second detached structure located on the
      South East corner of the property. This area of this structure was
      assigned with single letters to identify a particular part of the
      room.  In the office area, designated as Room B, I observed a powered
      on Dell Dimension 2350, attached to an LCD flat panel monitor. The
      screen displayed an open Microsoft Internet Explorer browser with URL
      address of http://home.bellsouth.net/. I observed no other active
      windows in the Start panel window and photographed screen . The power
      cord was removed from the back of the Dell CPU and I disconnected the
      cable modem to prevent remote access. At that time, the Dell CPU,
      marked with Seri~l Number 6WTVN21, was secured and turned over the
      evidence custodian for future forensic analysis via property receipt .
       I also located several media related items within Room B, which were
      recorded onto a property receipt and turned over the Evidence
      Custodians .
     I then responded to a Bedroom designated as Room F, where I observed a
     white in color CPU marked Premio. The Premio CPU was in a computer
     desk which held a white CRT monitor, both of which were powered on.
     The CRT monitor displayed a message from Norton Antivirus software,
     warning of an expired subscription . I observed no other active
     windows in the Start panel window and photographed screen.   I removed
     the power cable from the back of the Prernio CPU and shutdown all other
     media. The Premio CPU, marked with Serial Number 2000091078, was
     secured and turned over the evidence custodian for future forensic
     analysis via property receipt. I also located several media related
     items within Room F, which were recorded onto a property receipt and
     turned over the Evidence Custodians.
     This concluded my participation in the search of the residence .


'**************************NARRATIVE         # 28 **************************
                      Reported By: RECAREY, JOSEPH                  12/2 1/ 05
                      Entered By.: ALTOMARO, NICKIE A.              12/2 1/05

    On December 20, 2005 , I contacted ASA Daliah Weiss in an attempt to
    subpoena the Epstein former houseman, Alfredo Rodriguez. Rodriguez ,
    who resides in Miami, had eluded the process servers previously and
    was not served the investigative subpoena. A telephone message was
    left as she is not available during the week of 12/19/2005. I made
    contact with State Attorney Inv Theresa Wyatt and requested the same
    via telephone message.

    I then researched the victim ' s-cellular telephone subpoena data
    which had been received from a previous subpoena request.   I analyzed
    the records which depict several calls frorn Haley Robson. The
    telephone calls start on February 6, 2005 at 12:49 pm.; the same day
    which the victim and the victim's father stated the incident occurred
    at Epstein s house. The first incoming call was from Robson's
    residence at 561 333 - 0180. The second incoming call from Robson 1 s




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    cellular phone 561-308-0282 occurred at 1:02 pm. The call durations
    were one minute or less. The time frame was within thirteen minutes
    apart.  It should be noted that Robson s residence was in close
    proximity to the victim's. The next call occurred at 5:50 pm when the
    victim telephoned Robson s residence. Several calls were made after
    the above mentioned calls both incoming and outgoing to Robson.
    Further analysis showed no telephone calls to either Robson's cellular
    telephone or Robson's residence were registered prior to February 6,
    2005.

   Additionally, I also conducted an analysis on the telephone calls from
   305-710-5165. The subscriber information confirmed that the number is
   registered to Paul A Lavery from Hialeah, Florida. The address was
   crossed referenced to the Office of Kiraly and Riley Private
   Investigators. I researched the web page www.rileykiraly.com which
   also showed various cases in which they assisted.   I also located
   another web site under www.coralspringssparklandrotary.org in which
   Mr. Riley attended a Miami Rotary meeting and confirmed Atty. Roy
   Black is among his clientele.

   The telephone calls revealed Lavery had telephone contact with
                 . . . . and••■•••~ either just after I attempted to
   interview them, or Just prior. A background was conducted on Lavery
   which revealed he holds a current Private Investigator License. A
   criminal arrest record revealed he had been previously arrested for
   possession of cocaine and solicitation of prostitution .
   I also researched the girls using www.myspace.com. This web site is a
   new social networking service that allows members to create uniq~e
   personal profiles online in order to find and communicate with old and
   new friends. The site allows one to establish your own myspace.corn
   page and decorate the page any way one wishes. I found the following
   people have myspace sites: Halef, Rob~on,      ...                 and
                                                  a      1



   I received a Cingular Wireless packet which contained a CD which
   contained the results of the subpoena request for verbatim calls on
                  An analysis will be conducted in the near future on the
   phone numbers called.

   Investigation Continues .


**************************NARRATI V E       # 29 **************************
                     Reported By: RECAREY, JOSEPH                  12/27/05
                     Entered By.: ALTOMARO, NICKIE A.              12/29/05

  Upon doing research on the message books recovered in the search
  warrant, I located the identity of                 The telephone number
                as registered to              &
                                          2!S!!£Q_ She currently is
  seventeen years old and is attending t h e . . . . . .             J. I




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   Mresponded to••••••IIIII
                I located the
                                     ========      also known as the
                                                  • • • I located
   alllllltinside the foundation and informed her that I was
                                                                      (Continued)



    investigating a case against Jeffrey Epstein and knew she had been at
    the house. ■         started to cry and advised she had put that part
    of her life behiiia her. I explained that although she is seventeen
   years old I needed to inform her parents that she would be
    interviewed. She provided her home telephone number. I attempted
   contact and left voice mail messages at the house to speak with her
   parents.
   Det. Caristo and I then located           - - a t her residence located
   at•■■•••••in                              I attempted to interview her
     about Jeffrey Epstein. She advised she is so in love with Jeff
    Epstein and would do anything for him. She further explained that she
    would not speak with us about him either negative or positive.  She
    asked us to leave her property. I informed her that although she did
    not wish to speak w~th us, I had sufficient information at this point
    in the investigation to know she was at Epstein's house and provided
    girls to Epstein to work. I also explained that prior to our arrival
    at her residence I had telephone contact with her father,
  16         who was told she would be interviewed.              is
    currently seventeen years old and as a juvenile, parental notification
    would be required. We then left the area and returned to the police
    station.
   While at the police station, I left another telephone message for
   J        • parents. I began an analysis of Sarah Kellen's Cellular
   telephone. The telephone number 917-855-3363 is assigned to Sarah
   Kellen and the financially responsible party is Jeffrey Epstein of 457
   Madison Ave. in New York City, New York. The time frame which was
   subpoenaed was September 2005, through October 2005. There were
   eighty seven pages of calls made either to the cell phone or from the
   cell phone. The local (561) numbers were analyzed. A spread sheet
   was prepared and placed into the attachment file of who was called.
   The unknown numb.ers were researched using FoneFinder. com and subpoenas
   wer·e requested to determine subscriber information. This was done to
   identify additional victims or witnesses. The analysis revealed that
   Kellen had called the victim/witnesses frequently when Epstein was in
   the Town of Palm Beach to 11 work. 11 This confirms what the girls
   interviewed had previously stated. Kellen would notify them when
   Epstein was in tovm. and their willingness to 11 work, u The CD was placed
   into evidence.
   Investigation Continues .

*************************NARRATIVE           # 3 0 **************************
                    Reported By: RECAREY, JOSEPH                      1 / 03/06
                    Entered By. : ALTOMARO , NICKIE A.                1 / 03/06

  On December 29 , 2005 , I received a facsimile from National Compliance




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        Center from Cingular Wireless for telephone number 561-308-0282. This
        was the telelh[ne number for Haley Robson during the time frame when
        the victim,       was brought to the Epstein house to 11 work. 11   An
        analysis of the phone records, of all incoming and outgoing calls,
        showed that on February 6, 2005, the day the victim,411111J was brought
        to the house, Robson first called Sarah Kellen, Epstein's assistant,
        at 917-855-3363at 12:50 pm (EST). The next call was made to Epstein ' s
        house in Palm Beach, at 12:52 pm (EST). The following call was made
        to the victim, . .■lat 1:01 pm (EST} and at 1:02 pm (EST). This
        confirms the information provided by the victim and victim 1 s father.
        I photo copied the records and enlarged the page B of 10 to show the
        calls made by Robson on February 6, 2005.
        To this date, I have not heard from                     parents. I
        will attempt to establish contact with them during the evening hours .
          I received a package from Atty. Guy Fronstin, which was hand
        delivered at the police station. Within the package, was a letter
        from Alan Dershowitz, and two www.myspace.com profiles. The profiles
        were that o f · · · · · · · • ~ a n d In        MySpace.com is a social
        networking service that allows members to create unique personal
        profiles online in order to find and communicate with old and new
        friends. This package was in response to a previous meeting in which
        Mr. Dershowitz called to assist in the investigation in providing any
        additional witnesses such as house employees who have been reluctant
        to speak with law enforcement.
        I reviewed the p~iles Mr. Dershowitz enclosed.           who designed
        her blog to be . . . II       I   IL a It still attends
                     sends and receives messages from friends which contain
        some profanity. Upon reviewing her friends' comments section from
        Myspace, most of her good friends sent messages to establish contact
        and invite her to go out.
    I then reviewed .                web blog which was provided by Mr.
    Dershowitz. Ms. M Q designed her blog to be •111■■■• 1 Her blog
    states that her interests include music, theater and weed (Marijuana).
    I reviewed her packet in which••adeclares her love for her live-in
    borfriend. She also describes using marijuana with her boyfriend
   a
    The letter Mr. Dershowitz sent advised he was looking into the
    allegation that one of the private investigators used by the private
    attorneys of Epstein, attempted to impersonate or state that they were
    police officers from Palm Beach. Mr. Dershowitz advised that the
    investigators used to interview•••••••• had "quite a distinct
    speech impediment'', did not claim to be nor did they impersonate
    themselves as a police officer. This package was sent to both ASA
    Lana Belohlavic and ASA Daliah Weiss at the State Attorney's Office .
    I made telephone contact with ASA Weiss to confirm she received the
    package and request an interview with Sarah Kellen , Nada Marcinkova ,
    and Janusz Banasiak. She advised she would assist in attempting to




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     contact Mr. Dershowitz.
    on January 3, 1 2006, I received a telephone call from ASA Weiss who
    informed me that she made telephone contact with Mr; Dershowitz. She
    had requested the employees be available the week of January 3, 2006.
    Mr. Dershowitz informed her that the assistants are out of the
    country and would require additional time to locate them and make them
    available.
    Investigation Continues .

***************************NARR AT l VE        # 31 **************************
~                      Reported By : MINOT, LORIS.                     1/03/06
                       Entered By. : ALTOMARO, NICKIE A.               1/03/06
    On Thursday, 03/31/05, I started conducting surveillance at 358 El
    Brillo. At this point I observed at 1155 hours, a Tan Altima bearing
    FL tag A303~ in Roadway, Black SL bearing FL tag V55RF'W in drive, Tan
    Honda Civic bearing FL tag X98APM in Roadway, Black Chevy Suburban in
    driveway and a Black Caddy Escalade in driveway, At 1325 Hours I
    observed Tan Honda Civic X98APM in roadway, Black Chevy Suburban in
    driveway, Black Caddy Escalade in drive and a White Kia car bearing FL
    tag D651BQ. At 1615 hours I observed a Tan Honda Civic, X98APM in
    roadway, Black Chevy Suburban in drive, Black Caddy Escalade in
    driveway and a White Kia car D651BQ in roadway.
    On Friday, 04/01/05, I continued surveillance at 358 El Brillo.         At
   1130 hours I observed a Tan Honda Civic bearing FL tag X98APM in
   roadway, Black Caddy Escalade in driveway and a Tan unknown make/model
   bearing FL tag A303AN in roadway. At 1227 hours, I observed a Tan
   Honda Civic X98APM in roadway, Black Caddy Escalade in driveway and a
   Black Chevy SUV located behind the Escalade. At 1345 hours, I
   observed a Tan Honda Civic X98APM in roadway and a Black Chevy SUV in
   driveway. At 1558 hours, I observed a Tan Honda Civic X98APM in
   roadway, Black Chevy SUV in driveway, Black Caddy Escalade in driveway
   and a dark unknown model/make car parked in garage.
   On Saturday, 04/02/05, I continued surveillance at 358 El Brillo. At
   0713 hours, I observed a Red Explorer bearing FL tag J98JEI in roadway
   and a Black Caddy Escalade in driveway. At 0814 hours, I observed a
   Red Explorer J98JEI in roadway, Black Caddy Escalade in driveway and a
   Tan Honda Civic X98APM. At 0952 hours, I observed a Red Explorer
   J98JEI in roadway, Black Caddy Escalade in driveway, Tan Honda Civic
   X98APM in roadway and also a Grey unknown make/model with a B.M in
   trunk retrieving landscaping tools.
   At 1155 hours, I observed a Grey Camara bearing FL tagf ---- -; ■ parking
   in the roadway in front of 358 El Brillo. A W/F, blond hair, teens to
   early 20 1 s, thin and tall wearing a white tank top and short blue jean
   shorts, exited the vehicle and walked to the rear of the house.     I
   also observed a Red Explorer J9BJEI in roadway, Tan Honda Civic X98APM
   in roadway and a Black Caddy Escalade in driveway . At 1310 hours , I




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        observed a Red Explorer W/ F driver leaving the area , Tan subcompact on
        roadway and a Red Neon bearing FL tag     I [. Then observed 3 W/Fs,
        approximately 16 to 18 years of age jogging. All 3 females ran into
        the driveway. There were 2 with blond hair and one brown hair.
      On Sunday, 04/03/05, I continued surveillance at 358 El Brillo. At
      0719 hours I observed a Tan Honda Civic X98APM in roadway and a Black
      Caddy Escalade. At 0934 hours, I observed a Tan Honda Civic X98APM in
      roadway and a Black Caddy Escalade in driveway. At 1057 hours I
      observed only the Tan Honda Civic X98APM.
     On Tuesday, 04/05/05, I continued surveillance at 358 El Brillo. At
     10?2 . hours, I observed a Red Explorer J98JEI in roadway, a Green
     Explorer, bearing FL tag F91KAK in roadway, a Grey Altima bearing FL
     tag A303AN in roadway, White Ford Truck H58LRA in roadway, Black
     Mercedes in driveway being washed by a B/M and an unknown dark car
     parked in the garage. At 1059 hours a Blue Chevy Suburban drove to
     the house of 358 El Brillo and parked in the driveway. At 1119 hours,
     I observed the White Fort Truck H58LRA leave the area and the drive
     was the pool man.
     At 1126 hours, I observed a Grey unknown make/model car park in
     roadway . W/M got out of the car and walked to a house on the south
     side of El Brillo. At 1406 hours, I observed a Red Explorer parked on
     roadway and a large white box truck parked behind the surveillance
     suburban .

t************************** NARRATIVE           # 32 ******* * ******************
~                        Reported By: BATES, MICHAEL J.                   1 / 03 / 06
                         Entered By.: ALTOMARO, NICKIE A.                 1/ 03 / 06
    on 03/31/05, at approximately 1500 hours while conducting surveillance
    at 358 El Brillo, I observed a Black Cadillac Escalade, unknown tag, a
    Black Chevrolet Suburban, unknown tag, a Black Mercedes 8600 FL tag
    U90BQL parked in the east driveway next to the 3-car garage. There
    was a Tan Honda Civic FL tag X98APM parked on the street in front of
    the residence.
    At approximately 170 0 hours, I observed the Black Suburban , Black
    Escalade, Black Mercedes and Tan Honda Civic parked in the same place.
    At 1750 hours, there was no change in vehicles. At 1840 hours, I
    observed the Black Escalade, Black Suburban and Black Mercedes along
    with a Silver Hyundai Accent FL tag Al36AN all parked in the east
    driveway and a Red Ford Explorer FL tag J98JEI parked on the street in
    front of the residence.
    At 2000 hours, I observed the Black Escalade, Black Suburban parked in
    the ease driveway and the Red Explorer and Tan Civic parked on the
    street .
    On Friday , 04 / 01/05 at approximately 170 0 hours , I observed the Black




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    Escalade and Black Suburban parked in the east driveway and the Tan
    Honda Civic parked on the street in front of the residence. At 1820
    hours, I observed the Suburban and Civic in the same place and a Gold
    Chevrolet Camaro FL tag        p,arked on the street in front of the
    residence. At 2250 there was no change . At 2330, I observed the
    Black Escalade parked in the driveway and the Red Explorer parked on
    the street in front of the residence.
    On Saturday, 04/02/05 at approximately 1700 hours , I observed a Black
    Escalade, unknown tag, parked in the driveway and a Tan Honda Civic FL
    tag X98AMP parked in the street in front of the residence. At 1805
    hours the Escalade and Civic were in the same position and the Black
    Mercedes FL tag U90BQL was also parked in the east driveway. At 192 0
    hours the Escalade and Civic were the only vehicles and both were in
    the same position. At 2030 hours and 2145 hours there were no
    vehicles observed.

    At 2115 hours, I observed a Black Mercedes, 4-door parked in the east
    driveway FL tag Gl4CT. At 2300 hours, 2350 hours and 0045 hours, the
    Black Mercedes was the only vehicle observed.


**************************NARRATIVE            # 33 **************************
                     Reported By: RECAREY , JOSEPH                     1/05/06
                     Entered By . : ALTOMARO , NICKIE A.               1/05/06
   I made contact with Mr.                     father of
   who was told that I wished to interview his daughter. Mr. J
   stated he was aware ~nd had spoken with his daughter about the
   incident. He stated that his daughter had previously told him that
   she was hired to model lingerie at a Palm Beach mansion. Mr.
   stated he knew nothing else about what she did when she went to
   "work." Mr. 4al       advised be would cooperate with the investigation
   and make his daugl'fcer available for interviews. I asked if she was
   available f~rfan indthe:vie w, J d  k£stated sthe,whashnot at homet at ~he
   moment. I in orrne     im 1 wou 1 ma e contac wit     er at a 1 a er time .
   Mr . ..._.expressed hi.s interest in the resolution in this matter
   as h e ~ this information has affected his daughter emotionally.

   On January 4, 2005, I acquired the subpoenas from the State Attorney ' s
   Office for Cingular Wireless, Metro PCS, Verizon, Bell South
   Telecommunications and Sprint for the unknown telephone numbers from
   Sarah Kellen's cellular telephone . The subpoenas were sent to the
   respective telephone carriers for subscriber information.

   I received a telephone call from State Attorney's Office, who informed
   me that the former houseman for Jeffrey Epstein, Alfredo Rodriguez,
   was present at the State Attorney's Office for an interview.
   Rodriguez was issued an investigative subpoena for an interview on the
   on-goings at Epstein's house during his employ.  I responded to the
   State Attorney's Office and encountered Mr. Rodriguez waiting in the
   lobby , I brought Mr. Rodriguez to the interview room .




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     During a sworn taped statement , Mr. Rodriguez stated he was employed
     by Jeffrey Epstein for approximately six months. He was referred by
     associates and his employment lasted the months of November 2004
     through May 2005. His responsibilities as house manager included
     being the butler, chauffer, chef, houseman , run errands for Mr.
     Epstein and provide for Epstein 1 s guests. Rodriguez advised he had
     very limited contact with Mr. Epstein. If Rodriguez needed to relay a
     message to Mr. Epstein, he would have to notify Epstein's secretary
     "Leslie" in New York City, who would then notify Epstein's personal
     assistant, Sarah, who would relay the message to Epstein. Rodriguez
     stated Epstein did not want to see or hear the staff when he was in
     residence.
     I asked Rodriguez if Epstein received many guests during his stay in
     Palm Beach. Rodriguez advised he had many guests . I asked
     specifically about masseuses coming to the house. Rodriguez stated he
     would have two massages a day. Epstein would have one massage in the
     morning and one massage in the afternoon everyday he was in residence.
      Rodriguez stated he would be informed to expect someone and make them
     comfortable until either Sarah or Epstein would meet with them.
     Rodriguez stated once the masseuses would arrive, he would allow them
     entry into the kitchen area and offer them something to drink or eat.
    They would then be encountered by either Sarah or Epstein. They
    would be taken upstairs to provide the massage. I asked Rodriguez if
    any of the masseuses appeared young in age, He advised he didn't ask
    their ages but felt they were very young. Rodriguez stated they ate
    like his own daughter who is in high school. Rodriguez stated they
    would eat tons of cereal and drink milk all the time. Rodriguez
    stated the girls that would come appeared to be too young to be
    masseuses. He stated one time un4er E&stein 1 s direction, he delivered
    a dozen roses to                       J        I for one of the girls
    that came to provide a massage. He knew the girls were still in high
    school and were of high school age. I asked Rodriguez about the
    massages. He felt there was a lot more going on than just massages.
    He would clean Mr. Epstein 1 s bed.room after the alleged massages and
    would discover massager/vibrators and sex toys scattered on the floor .
    He also said he would wipe down the vibrators and sex toys and put
    them away in an arrnoire. He described the armoire as a small wood
    armoire which was on the wall close to Epstein's bed.
    Epstein ordered Rodriguez to go to the Dollar rent a car and rent a
    car for the same girl he brought the roses to , so that she could drive
    her self to Epstein's house without incident. Rodriguez said the girl
    always needed rides to and from the house. Rodriguez referred himself
    as a "human ATM machine" and was ordered by Epstein to maintain a
    minimum balance of $2,000 dollars on him at all times. When a girl
    would come by the house and Mr. Epstein was either not in residence or
    was not at home at the time, Rodriguez was to provide the girl
    (masseuse) several hundred dollars for their time and to notify
    Epstein the amount they were given . Epstein also ordered Rodriguez to




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:ase No.     .    . : 1-05-000368                                   (Continued)
         purchase several gifts and provide them as tips to the girls.  I asked
         what kind of gifts. Rodriguez stated he purchased IPODS, jewelry ,
         anything the girls would want.

     Rodriguez stated the amount of girls that came to the house was
     approximately fifteen. Each of the girls knew each other and all
     seemed to know at -•••••••■•■•••••who Mr. Epstein was .
     When asked to identify these girls, Rodriguez stated he could not at
     the moment but knew he wrote their names down on a journal he kept
     during his employ with Mr. Epstein. He kept a journal in the event he
     needed to explain either to Mr. Epstein or his assistants what was
     done at the house or who visited the house as he stated he was
     in-charge of Mr. Epstein's personal security while in Palm Beach.   I
     informed him I would need to view this journal to which he stated he
     would research the book and contact me to provide the book.    The
     interview was concluded and left the area. I returned back to the
     police station where the micro cassette was placed into evidence. At
     approximately 7:20 pm, I was notified Rodriguez located the journal
     and would call me on January 5 , 2005 to provide the journal .

     Investigation Continuesaa

•**************************NARRATI V E        # 34 **************************
,                     Reported By: RECAREY , JOSEPH                   1/09/06
                      Entered By.: ALTOMARO, NICKIE A.                1/10/06

    On January 5 , 2006 , I attempted to meet with Alfredo Rodriguez to
    recover the folder or journal in which he kept the notes that were
    given to him during his employ with Mr. Jeffrey Epstein. He kept this
    folder to justify what he did during his employ should the need arise
    to justify what occurred with the monies he had to keep or any
    questions as to the petty cash he withdrew from the household account
    from the bank. At approximately 10:00 pm, I attempted contact with
    Mr. Rodriguez and discovered he was assisting his wife at her place of
    employment and would not be able to meet with me. Mr. Rodriguez
    stated he would meet with me on January 6, 2006, in Broward County, in
    the morning hours"
    On January 6 , 2006, at approximately 9 ; 00 am, I received a telephone
    call from Mr. Rodriguez who advised he had the file in hand and would
    be traveling northbound to meet with me in Broward County. At 10:50
    am, I met with Alfredo Rodriguez at the parking lot of Bank of America
    in Boca Raton on Yamato Road and Military Trail (known as the Polo
    Center). Rodriguez produced a green folder which contained documents ,
    a note with Mr. Epstein's stationary with direction to deliver a
    bucket of roses to                       .          after        ~£  J
    high school drama performance. Also in that same note was direction
    to rent a car f o r • • • · · · a n d direction to extend the rental
    contract.  I returned to the Palm Beach Police Station and placed the
    folder into evidence.

    I received a fax from Verizon from the subpoena request sent on




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      01-04 - 06, for telephone number 561-3 02-1844 . The phone number is
      registered to Dr Perry Bard, from West Palm Beach. Dr. Bard is a
      chiropractor and has an office.located 4275 Okeechobee Blvd in West
      Palm Beach . The cellular number is Dr Bard ' s personal cellular
      number .

    On January 9 , 2006 , Det. Caristo and I traveled to 622 Holly Drive in
    Palm Beach Gardens in an attempt to locate Johanna Sjoberg, who had
    been previously seen on the property and identified through her
    Florida Drivers License and Florida license Plate. A business card
    was left for her to return my call. We then traveled to the ■--~.
   & RY--FT       p and located i • T -i]            -•■t agreed to
    speak wib u s and in a private room within the school provided us a
    taped statement .
   During the statement,                  advised that when she was fifteen or
   sixteen years of age, she was taken to Jeffrey Epstein's house by her
   a s s o c i a t e , • • • • • • • til■■■~stated this occurred la t e May 2004
   or early June 2004. She was told she could model lingerie for money
   for a wealthy Palm Beacher. She remembered they traveled by yellow
   cab from their residence in West Palm Beach to Epstein ' s house.         She
   remembered encountering Epstein at the front door during the evening
   hours.
   He introduced himself and brought them into the kitchen so that the
   chef could prepare something for them to eat . After having a meal,
           and Epstein broughtlll■■9 upstairs to a master bedroom which
   had a large bathroom. She observed a large style shower, sauna and
   there was a large massage bed also in the bathroom . Epstein entered a
   room within the bathroom and came out wearing only a towel.
   said they would provide a massage on his feet. L § j asked why they
   are doing this. ~ told her this was part of the routine and told
   her to rub h i ~a nd calves . Epstein had told                      to get
   comfortable . . _ . . . . . continued rubbing Epstein I s ·c alves and feet, At
   Epstein's direction,              then left the room leaving             there
  by herself. Epstein told                 to get comfortable.              removed
  her blouse and pants a~d stayed in her panties. -■-■istated she
  was not wearing a bra. She believed she was wearing thong panties.
  Epstein turned over onto his back and began touching her. Epstein
  touched her breasts and began touching her in her vagina area.
  Epstein instructed her to rub his chest and rub his nipples.
  stated the touching consisted over the panties on the first time; he
  stroked her vagina but stayed on top of the panties. During the first
  massage, she stated Epstein was stroking her and began masturbating
  himself at the same time. He put his hands under the towel and
  appeared as to masturbate himself however she never saw his penis .
  She continued rubbing his chest until he grabbed her and pulled her
  closer to him . He appeared to have climaxed because after he pulled
  her closer to him the massage was over. Epstein had told her that
  there was two hundred dollars for her on the dresser. He told her
  that she could not tell anyone what happened at the house or bad
  things could happen. •■•■~stated she went to Epstein ' s house three




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    or t our times
               •   total.           ~u-
                                Q was very scared and felt very nervous .
    She knew because of Epstein's money he was powerful. After the
    massage, Epstein ordered his houseman at the time to drive the girls
    home . The employee was to drop off the girls at their house and watch
    them go inside their house.

              could not remember who the houseman was. She stated Epstein
     and his assistant Sarah would call her at her father 1 s house to
     arrange for her to come and 11 work. 11 She advised each time she returned
     to the house, Epstein would do the same thing. -■■■•stated it was
     a routine with Epstein. She would rub his feet and calves. He would
     then turn over and begin to touch her on her vagina area. The only
     difference was that it was done without panties. Epstein's fingers
     would stroke her vagina area as he would masturbate and finally climax
     and the massage would be over. She was paid $200.00 each time she
     went. Each time she went she was reminded not to speak of what
     happened at the house and that she would be contacted again. She
     began to purposely miss the calls when either Sarah or Epstein would
     call her . She once brought a friend , ~           unknown last name, to
     work for Epstein. She was paid $2 00 . 00 for bringi1ig       $
     stated she no longer retuned to work for Epstein. She also stated
     that she wanted to notify the police of what happened at the house.
         }   stated she was scared of what could have happened to her or
     her ~~mily if she notified authorities .



    number is assigned to Mr. ···••■I,                        father in 9 ■
       ,             I also received the results from Western Union which
    confirmed the money order sent t o • • • •....•••~frorn Jeffrey
    Epstein in New York City. The 11 wire 11 was sent by Jeffrey Epstein of
    457 Madison Ave in New York City on December 23, 2004 at 12:05 pm.
    The amount of $222 . 00 was charged to Epstein's credit card so that
         •   could receive $200 . 00 i n • • • • • • • • • The twenty-two
    dollars was for processing and local fees to send the money via
    Western Union . A copy of the check presented t o ~ was also
    attached to the receipt of the wire . This confirmed what
    advised she received as a Christmas bonus from Epstein .

    Investigation continues .

********** * ******** * ******NARRATIVE             .# 35 **************************
                           Reported By: RECAREY , JOSEPH                     1/10/06
                           Entered By.: ALTOM.ARO , NICKIE A.                1/10/06

    I received and reviewed the Cingular Wireless results from the
    subpoena requests for subscriber information for telephone numbers
    561-818-8361, 561-389-6874 and 561-309-0079 . The first number,
    561-818-8361, is assigned to Janusz Banasiak in care of Jeffrey
    Epstein of 457 Madison Ave in New York City. Banasiak is the current
    houseman/house manager for 358 El Brillo Way in Palm Beach, Fl 33480 .
    The second number , 561 - 389-6874 , is assigned to Christina Venero of




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    1685 61st Drive in West Palm Beach . Research conducted on Venero
    revealed she is a licensed Massage therapist with a Florida
    conditional/active license number MA39723. Venero had been previously
    arrested for battery/ unwanted touching and DUI. Requests for copies
    of the reports involving the arrests were requested from the Palm
    Beach County Sheriff's Office. The last number 561-309-0079 is
    assigned to Thomas Rofrano of 9850 Alt AlA in Palm Beach Gardens.
    Research on Mr. Rofrano, revealed that he is a Florida Chiropractic
    Physician .
    Vehicles that were previously documented on the property while
    surveillance was being conducted were researched.  I determined a tan
    Chevrolet Camaro, bearing Florida license••••• was seen on the
    property in which a young white female was seen entering the Epstein
    property. Research was conducted which revealed that the vehicle is
    registered to              of         . . Mr. ••ahas two daughters ,
  - - - - - - - . . . an                •     is currently residing in
  ~ and                   •■••-- is residing with her father in? 73
  . . . . . . Research on    ■--••-~evealed she was recently involved
  ~ r a f f i c stop in Lake Clarke Shores in May 19, 2005. A request to
    discover any information from the stop was requested.
    I spoke with ASA Daliah Weiss who informed me that Janusz Banasiak
    will be available for an interview tomorrow at the State Attorney's
    Office in West Palm Beach at 1:30 pm. I informed her that! would be
    at her office for the interview.


**************************NARRATI V E        # 36 **************************
                     Reported By: RECAREY, JOSEPH                    1/23 /0 6
                     Entered By.: ALTOMARO , NICKIE A.               1/23 /06

   On January 19, 2006, Det. Caristo and I met with Johanna Sjoberg at
   622 Holly Drive in Palm Beach Gardens. Sjoberg was identified as a
   licensed massage therapist who had previously been seen on Epstein's
   property when physical surveillance was done. Sjoberg was told of the
   on going investigation and I felt she may have information pertaining
   to the case. During a sworn taped statement, Sjoberg stated she met
   Epstein three years ago when Ghaline Maxwell approached her while she
   was attending Palm Beach Atlantic College to work around Epstein's
   house. Maxwell had told her that they needed some girls to work at
   the house to answer phones and run errands. Sjoberg accepted the job
   and began working at Epsteints house on El Brillo in Palm Beach,
   Sjoberg stated it was a part time job during the time she went to Palm
   Beach Atlantic College. She continued going to Epstein's house and
   would be notified when Epstein would travel to Palm Beach. Sjoberg
   advised she would be notified by Maxwell, Epstein or Sarah, his
   assistant, when he would travel to Palm Beach. Sjoberg stated she
   began providing massages to Epstein before she became a massage
   therapist. She continued giving massages not only to Epstein but to
   Nadia Marcinkova, and Sarah, his assistant . Sjoberg was asked about
   what occurred during the massages. Sjoberg stated as she was twenty




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         three years old when she met Epstein, anything that happened was
         between two consenting adults. I explained to her that she was not in
         any trouble however as part of this investigation, I needed to ask
         certain questions. Sjoberg stated that there were times that Epstein
         would ask her to perform during the massage . He would instruct her to
         rub his nipples as he masturbated himself . Sjoberg stated she felt
         "grossed" about the behavior but as she was getting paid, she just
         continued. Sjoberg also advised she would on occasion perform the
         massages naked. Epstein would on occasion, utilize the
         vibrator/massager on her vagina area when she performed the massages.
         Sjoberg explained that Epstein never exposed himself to her as he
         maintained himself covered under the towel he would be wearing. When
         Epstein would masturbate he would be covered.
         I asked if Sjoberg ever received any gifts, or any gratuities from
         Epstein . Sjoberg advised aside from being paid well, she advised
         Epstein took care of her tuition from Palm Beach Atlantic College ,
         She received a rental car for a week when her scooter broke down.
         Additionally she received other gifts from Epstein. Epstein also
         recommended her to another client who resides at Breakers Row in Palm
         Beach . The client she was referred to was 11 Glenn 11 unknown last name,
         and his wife, who she provided a massages to . The statement was
         concluded and placed into evidence upon cur return to the Palm Beach
         Police Depart~ent.
       While at the police station , I researched Florida tag         which
       was also previously seen on the property when there was physical
       surveillance being done at the property. The vehicle.is ,registered to
       1I    • - - - of 4 - - - - - · - · - Researching Mr. -    f and the
       vehicle revealed that his daughter, • • • • 9111    had been driving
       the vehicle and was cited for unlawful speed in Lake Clark Shores.
       The vehicle is a tan, Chevrolet Camaro, 2-door. I researched

      - &I     /
              date of birth    I   ,-·.   :rm ..,
                                           resides at •
                            has a my space page called
                                                                         in

       www.myspace . com'1II••••• In her web page, shows various photos of
     i       photographed at a beach. An interview is forthcoming.
         A review of the video disks which was extracted at the Palm Beach
         County Sheriff's Office Computer Crime Unit revealed that only one
         hidden camera was functional at the time. Several images of Epstein
         working at his office were seen. Additional footage of Sarah Kellen
         and Nadia Marcinkova was seen. There was other footage of females
         seen. The identity of the females is unknown at this time, until such
         time as I meet with certain females to show the video footage to
         confirm if, in. fact, it is them on the video. At this time it appears
         that          I■ and Haley Robson are seen sitting with Epstein beside
         his desk in the evening hours. Due to poor lighting , a direct
         confirmation cannot be made at this time .

         Inv _ Continues .




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***************************NARRATIVE            # 37 **************************
A                       Reported By: RECAREY , JOSEPH                   1/30 / 06
                        Entered By.: ALTOMARO, NICKIE A.                1/30/06

      On January 25, 2006, Det Caristo and I, responded t o . _ .
            in••--•••and met with••■--•••                      •••
                                                             stated last
      year, when she was seventeen years of age, she met Jeffrey Epstein
      through her former room mate~              •••was allegedly dating
      Epstein at the time.          arn V & had once cohabitated together
      when they modeled.         explained I     called her on her telephone
      and advised her that she was in Palm Beach and requested to see her.
             made arrangements to meet with her at Epstein's house.
      arrived and met Epstein andlll••           and•••went to the Palm
      Beach Mall together and went shopping ,        advised thata••and
      she had received money from Epstein to go to the mall. They visited
      Victoria's Secret and purchased undergarments from the store utilizing
      monies given by Epstein. • • • advised she purchased one item and
             purchase various items , The money used to purchase the items
      was the money given by Epstein.
             and       continued shopping and having a day together.
      stated•••-explained how she and Epstein have been dating each other
     and he has been paying all of her bills. • • • claimed••• advised
      they met in New York and had been dating ever since. They later
      returned to Epstein's home and encountered Epstein. He had a brief
     conversation with           about her modeling career. He knew of her
     modeling career from               He requested to see her modeling
     portfolio and explained that he could help her with modeling jobs.
     ■     -had her book with her to showd!lll-•and showed the book to
     Epstein. He commented negatively about her photographs and portfolio .
              felt uncomfortable with the comments made as she had been
     working with other professional modeling companies who had offered her
     work from her photographs, Epstein requested to see what was
     purchased at the mall. • • • took out the undergarments which were
     purchased. She immediately showed Epstein different sets purchased.
     Epstein then requested to view what9■•• purchased. • • • was
     reluctant to show"'the• -out~E,i,t however since it was Epstein's money that
     purchased the item, she pulled it out of the bag. Epstein asked her
     to try it on. • • • looked attl-■iwho told her 11 yeah, try it on. 11
     Feeling compelled to try the undergarment outfit on; she went to
     another room and put on the bra and panty set. She walked out to the
     living room where they were sitting, and modeled the suit. She then
     went back into the other room and changed back into her clothes.
      ■ I   returned into the room and told • • • she would be going home.
            scheduled another day f o r • • • to return for massages with her .
          stated within that same week, she returned to meet with
    and have a massage . ·      I
                               had told her that she would be unable to
    stay with her as she would be going on a bike ride with Epstein .
          explained she could stay at the house and take advantage of the
    massage .




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           stated she met with an unknown massage therapist and had the
     table already set up in a guest room . •■■•removed her clothing,
    leaving her panties on, and wrapped herself with a towel for the
    massage. ••■► remembered that the door to the guest room was closed
    but not locked. As the therapist was working her back, the door was
    opened by Epstein and entered into the room . 4••twas trying to
    conceal herself as Epstein was talking to her about his chiropractic
    session. Epstein t o l d • • • turn over onto her back .
    eventually turned over exposing her breasts to Epstein as he applied
    pressure on her shoulder and her waist. • • • stated Epstein "popped "
    her back.            removed her self from the table , got dressed and left
    the house.            further stated••• had attempted to call her on
    several occasions to invite her back to Epstein 1 s house to which
    replied "l 'm busy. 11 •••► advised she has not had contact with either
                 or Jeffrey Epstein. It should be noted that her mother ,
                     was present during the interview . The interview was
    concluded and we thanked them her for their time


·**************************NARRATIVE           # 38 **************************
                      Reported By: RECAREY , J OSEPH                   1/31/06
                      Entered By.: ALTOMARO, NICKIE A.                 1/31/06
    on January 2 7 , 2006 , I made telephone contact with Christina Venero ,
    at 772 - 878-728 0 . Venero is a licensed massage therapist who had
    frequented the home of Jeffrey Epstein. Ms . Venero has been unable to
    meet with me in Palm Beach County, and because she lives and works in
    Por t St Lucie, a telephone interview was conducted.    I explained to
    Ms. Venero that there was an on going investigation involving Jeffrey
    Epste i n.
   Venero stated she knows Epstein and has been employed by him for
   approximately three years . Epstein has paid Venero to perform Swedish
   Massages (Deep Tissue) on him and other guests. Venero explained that
   approximately three year ago she met Ghislaine Maxwell and Jeffrey
   Epstein through a mutual friend. Epstein and Maxwell were looking for
   a massage therapist. Venero stated since that time, she is notified
   when Epstein is corning to Palm Beach. Venero stated she comes to his
   house and provides the massage or massages. Venero explained she has
   also massaged his guests and assistants. Venero continued that she is
   paid $100.00 and hour for the massage.
   I asked Venero if anything occurred during the massage that would have
   rhacte· her feel uncomfortable . Venero stated she only provided massages
   and th,at was it. She never was approached for anything else . I asked
   if Epstein ever asked her to rub his chest she stated she would not
   rub his chest as that is not part of her massage. Venero explained
   that she was not Epstein 1 s type. The girls she would see at Epstein's
   house were very thin, beautiful and without tattoos . Venero explained
   she has several tattoos that are visible . Maxwell and Epstein have
   commented negatively about her tattoos previously when she has
   provided massages.




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    Venero stated she only provided massages for Epstein and his
    associates and nothing happened during those massages. Venero stated
    as she does Swedish style massages, the patient is usually sore after
    the massages.  I thanked her for her assistance and the interview was
    concluded at this time.

    I received a facsimile from T-Mobile Cellular service on telephone
    number 561-317-5844, which is assigned to David Rodgers, pilot for Mr.
    Epstein, who resides in Lake Worth. Rodgers' telephone number was
    dialed on several occasions by Sarah Kellen. A background on Rodgers
    indicated he has a valid FAA pilot license First Class for the
    Southern FAA Region. Rodgers has another historical FAA license for
    Airline Transport Pilot .

    Investigation Continues .

**************************NARRATIVE         # 39 **************************
                    Reported By: RECAREY, JOSEPH                    2 / 14/06
                    Entered By.: ALTOMARO , NICKIE A .              2 / 16/06
    on Friday, February 3, 2006, I had made arrangements to meet with
    Joanna Harrison at the Palm Beach Police Station . At approximately
    1 : 00pm, Harrison and her friend, Victoria Bean arrived at the police
    station . During an interview with Harrison, she stated she met
    Epstein when she turned eighteen years old and was brought to
    Epstein's house to provide a massage . She advised this occurred on
    May of 2005. She advised Haley Robson had informed her if she wanted
    to provide a massage for $200.00 . Harrison agreed and was brought to
    Epstein's house to provide a massage. Harrison stated she had been to
    the house on many occasions during the massage sessions.    Harrison
    also stated she would remove her clothing to provide the massage on
    Epstein . Harrison advised Epstein would pay her $300.00 to rub his
    back, legs and chest. During the massages, Epstein would masturbate
   himself as she rubbed his chest.     I asked her if Epstein ever touched
   her breasts during the massages. Harrison replied. ''Yes. 11 I asked her
   if Epstein ever touched or massaged her vagina. Harrison stated he
   had on several occasions.     I asked her if he ever penetrated her with
   either his penis or any other objects. Harrison stated that during a
   massage he inserted his fingers in her vagina as she massaged him.
   She stated this occurred one time only. Harrison stated the massage
   would be over when Epstein would climax onto a towel.     I asked
   Harrison if she had any formal massage training to which she replied
   that she did not. Harrison was then asked if she ever brought anyone
   to the house to "work." Harrison stated she brought two people to the
   house. She advised she received money for bringing people to the
   house to "work. 11 Harrison stated she brought a girl named       M and
   her friend Tory Bean. Bean was still waiting for Harrison in the
   lobby of the police station. I thanked Harrison for her time and her
   cooperation and escorted her to the lobby .

   I asked Ms Bean if I could speak with her about this investigation .        I




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     brought her to the interview room and explained to her that I was
     conducting an investigation on Jeffrey Epstein and felt she may have
     information pertaining to the investigation. Ms Bean identified
     herself as Victoria Bean and resides in Wellington, Florida.     She
     advised approximately a year ago she was brought to Epstein's house to
    provide a massage for money. Bean stated she needed to make money and
     felt it was a quick way to make some money. Bean stated she was
    brought to the house by ~arrison and was introduced to Epstein and his
    assistant.    She was brought to his main bathroom and provided a
    massage.   I asked her if she provided the massage naked. Bean stated
    she did. She rubbed Epstein's legs, back and chest.     I asked Bean if
    Epstein touched her during the massage. She advised he did not,
    howeyer he did masturbate himself as she rubbed his chest. Once he
    climaxed the massage was over. She was paid her money and left the
    area.   Bean advised it occurred one time and she never returned to
   Epstein 1 s house. The interview was concluded and Bean was escorted to
    the lobby.
    I located a telephone number for                and attempted to
                                                     .rw:rTT I
    contact her on several occasions,   I called
    with Ms. • • • who advised she would speak with me in·        i
                                                               nd spoke
    where she resides. Due to a scheduling conflict, we were unable to
    meet.  I informed her I would contact her to schedule another
    appointment to speak with her about this investigation.   I have
    attempted to meet with her and make telephone contact with negative
    results.
    On February 13 , 2006, I met with David Rodgers at 7318 Heathley Drive
    in Lake Worth, Rodgers was identified as Epstein ' s pilot.  I spoke
    with Rodgers who advised he has been employed with Epstein since 1991 .
     He flies both planes for Epstein depending where he wants to fly to.
     Rodgers was asked about passengers in the plane he flies.   Rodgers
    stated unless Epstein flew to his island off of St Thomas, there would
   be no way of knowing who the passengers were. I mentioned a recent
    flight to Ohio, where Rodgers flew to Ohio to pick up
   Rodgers stated he recalled flying on several occasions and did
   remember•••• Rodgers stated once he is in the cockpit, he does not
   knqw who the passengers are. When he prepares the passenger
   manifests, he lists Epstein and his assistants he knows by name, Sarah
   and Adrianna. Rodgers stated he would list either female or male
   passengers on the manifests only to keep a count on the passengers.
   Mrs. Rodgers came into the living room and recommended that her
   husband consult with an attorney. Mr. Rodgers agreed he would speak
   with the family attorney to inform him of this questioning.    I
   explained to Mr. Rodgers that he was not the suspect in this
   investigation and ceased all questions. Based on the fact Rodgers
   could not advise who passengers were in the plane, I then left the
   area.

   I attempted to locate               -at                    in
         IT ■ . I left my business card for her to return my call .         On
   February 14, 2006 , at 12:06 pm, I received a call back from Ms,




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      on my voice mail     Ms •     left her telephone number for a return
      call 561-662-3098.    I left her a message to return call.

         Investigation Continues ..

**************************NARRATI V E                  # 40 **************************
                               Reported By: RECAREY, JOSEPH                    2/21 / 06
                               Entered By.: ALTOMARO , NICKIE A.               2/22 /0 6

     On February 15, 2006, I made telephone contact with                 who
    provided directions to where I could locate her. Det Caristo· and I
    responded to 806 Old Dixie Hwy in Lake Park to meet with
             Upon my arrival, I met with••Win the parking lot directly
    behind MAACO Auto Painting. She was advised I was there to speak with
    her about an ongoing investigation that concerned Jeffrey Epstein in
    Palm Beach . . . . . stated she knows Epstein very well and did not want
    to speak with me about Mr . Epstein . She was very fond of Epstein and
    did not want to speak with me about anything concerning Jeffrey
    Epstein.   I explained to her that she was seen at the house and I
    would like to speak with her. She stat~d she knew there was an
    investigation and that I had spoken with other people and therefore I
    should know what happened at Epstein's house . 1111■9 ended the
    conversation and walked back into ·her boyfriends business , Blanton
    Automotive.   Det Caristo and I left the area and returned to the
    police station .

    Investigation continues .


 ********************* ****NARRATI V E            # 41 **************************
                         Reported By: RECAREY, JOSEPH                     4 / 1 0/ 06
                         Entered By .: ALTOMARO , NICKIE A .              4 / 1 0/0 6

   A Grand Jury Session was requested during t he month of February 2006 ,
   in which all the girls that had been interviewed would have b e en
   called to testify before the Grand Jury to seek an indictment against
   Jeffrey Epstein. Due to subsequent meetings with the State Attorney ' s
   Office and Defense Attorney Alan Dershowitz the Grand Jury was
   postponed until a later time . Dershowitz had provided a package of
   material on the main victims in this case in which they appear on
   myspace . com and speak about alcohol use and some marijuana use.  The
   State Attorney's Office wanted time to review the material .

   I requested additional subpoenas from the State Attorney ' s Office in
   which I requested information from Dollar Rent a Car and Jet Aviation.
   The information requested from Dollar Rent a Car was for the rented
   vehicle by Alfredo Rodriguez while under the employ of Epstein for one
   of the victims. The other subpoena requested was for Jet Aviation for
   d ates and times when Epstein's planes were in Palm Beach County .

   I con tinued to research other names that were acquired either from
   interviews or intelligence gathered during the investigation . I




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      located           •••■- in              -■~ I responded to
                 in £      ..•          During the interview, •rz■        ]
     stated she knew I would be speaking with her. • • • • • stated she
     was first introduced to Epstein when she turned eighteen years old.
             SI stated ~_he was sure of her age as it was her senior year in
                .       ·
                     m-■-■      11 7 She advised she was brought there to
           money and was told she would have to provide a massage to this
     Palm Beach guy. She remembered she met Epstein and his assistant
    Sarah in the kitchen area. She stated she was taken by one of her
    friends, 1      a  She stated she went upstairs with Sarah while Epstein
    got ready for the massage. He exited his bathroom naked and •
    turned around. Epstein asked her if being naked offended her.
                stated it made her uncomfortable. Epstein then put on a
    towel and lay on the table, •■-■II stated she rubbed his back and
    feet. She stated she had no massage training or experience.
   4 H W stated during the massage, Epstein attempted to touch her
    buttocks.      Fl]    [ pulled away as he touched her buttocks. She told
    him again she was uncomfortable with him touching her. Epstein then
    cut the massage short and became upset with her. Epstein paid her
    $200.00 for the massage and told her to leave the house.
   never returned to the house. She did advise of one time she went with
   1111[ I   5 Ts however she waited in the car for           as she did not
   want to go into the house. At the conclusion of               visit with
   Eps~~in they left the area . . 5       T stated she had heard from other
   girls that have gone to the house that Epstein now required them to do
   the massage naked and allow him to touch them in their private areas
   for monies. The interview was concluded as         5• IM did not have any
   other information to provide.
   I then learned from the original victim,~ the defense attorney had
   learned of her identity. I spoke with the father of the victim, who
   stated there has been a private investigator on his house
   photographing his family and chasing visitors who come to the house.
   He provided a Florida License of E79-4EH. This vehicle is registered
   to Ivan Robles of West Palm Beach. Robles is a private investigator
   intern who is licensed by the state. I informed the State Attorney's
   Office of the above information.
   I received the Grand Jury subpoenas to be delivered to three victims
   for a Grand Jury session to be held on April 18 , through April 20 ,
   2006.

   Investigation continues .
t************************ NARRATIVE            # 42 **************************
                       Reported By: RECAREY , JOSEPH                   4 / 14 / 06
                       Entered By.: ALTOMARO , NICKIE A.               4 / 18 / 06
  The Grand Jury Subpoenas were personally served to the individuals
  they were issued to. On April 5, 2006, at approximately 7:30 p.m. , I
  personally served the parents of4ilawho had informed me that the
  private investigators were still photographing the family. On April




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     10, 2006, at approximately 2: 3 o p ,.m., I servedllllll,at her residence in
                               The subpoena was given to her mother, . . .

     I learned through one of the victims ~ that she was personally
    contacted through a source that has maintained contact with Epstein.
    The source assured . . she would receive monetary compensation for her
    assistance in not cooperating with law enforcement.     ■· ,J.so stated
    she was told, 11 Those who help him will be compensated and those who
    hurt him will be dealt with . 11 I told•••that tampering with a
    witness/victim is an arrestable offense and very serious.      I asked her
    who approached her during this encounter. -originally was reluctant
    to provide the name of the person who approached her to offer her not
    to testify because she felt they were still friends.

   on April 11, 2006, Det Dawson and I traveled to Tallahassee, Florida
   and met with the victim, ■
   ft                                   ...
                                       identified SffJ     2]5 W/F,
            ;;c; as the person who approached her in Royal Palm Beach while
   s e was home during Spring Break in March 2006.•••also stated she
   did not want to pursue the intimidation charges o n - - ~ --was
   concerned that the defense attorney was given a copy of the report as
   certain things she had told me in confidence were repeated to her by
   Beal . Prior to our departure, the victim was given a copy of her
   subpoena for the Grand Jury which was scheduled to commence April 18,
   2006 .
   Upon our return from Tallahassee, I notified the State Attorney's
   Office of what was told to me . I also notified them that the
   subpoenas were delivered to the witnesses and they would be calling
   for arrangements for the date and time needed for the Grand Jury.   I
   spoke with AqA Weiss and informed her of the possible intimidation by
   the defense.
   on April 13, and April 14, 2006 I attempted contact on several
   occasions with ASA Weiss and ASA Belohlavic to ascertain when the
   victims needed to report for Grand Jury testimony. Messages were left
   on their voicemail. On April 17, 2006, during the hours of 9:00 am
   and 11:30 am, I again left messages for ASA Weiss and ASA Belohlavic
   for either of them to return my call as I had not heard from the State
   Attorney's Office as to the time and date of the Grand Jury.

  At approximately 12:30 pm, I went to the State Attorney's Office and
  located ASA Weiss and ASA Belohlavic in their offices . I entered ASA
  Belohlavic's office who informed me that she was going to return my
  call. She explained that an offer was made to the defense, Atty Guy
  Fronstin and Atty Alan Dershowitz. The offer is 1 count of Agg
  Assault with intent to commit a felony, five years probation, with
  adjudication withheld. Epstein would have to submit to
  psychiatric/sexual evaluation and no unsupervised visits with minors.
   When asked about the all the other victims, ASA Belohlavic stated
  that was the only offer made as to one victim,•111111' ASA Belohlavic
  cell phone rang and went to voice mail. She checked her voice mail
  and played the message on speaker. The caller identified himself as




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      Atty Guy Fronstin and acknowledged the deal made between them.
    u Frons~in stated in the message, he spoke with his client, Jeffrey
      Epstein, and agreed to the deal.  Fronstin asked to call off the grand
      jury as they would accept this deal. Belohlavic stated a probable
      cause would be needed to book Epstein in the county jail and would let
     me know as to when it would be needed . I explained my disapproval of
      the deal and not being consulted prior to the deal being offered.
     However I expressed that was only my opinion and the final approval
     would come from the Chief of Police. She explained to have Chief
     Reiter call Barry Krisher about the deal . I left the area and
     returned to the police station where I briefed the Chief about the
     deal offered.
    I checked my voice mail messages and discovered a message from
    stepmother for the victim~ She was calling because the State
    Attorney's Office still had not returned any of her calls as to when
    they are needed for this case _ I then called ASA Belohlavic's office
    and left messages for her to call the v i c tims on this case and
    explained to them what the State Attorney's Office had done .
    On April 17, 2006, at approximately 4:30 pm, State Attorney
    Investigator Tim Valentine called to officially notify me of the
    cancellation of the Grand Jury. He requested I contact the victims
    that had been served to appear, to notify them of the cancellation. I
    advised Valentine that as this Grand Jury session was called based on
    the State Attorney's Office decision to have the victims heard by the
    Grand Jury that I felt it was the States Attorney's Office
    responsibility to contact the victims and advise them of the reason
    they were no longer needed.


•*************************NARRATI V E        # 43 **************************
                     Reported By: RECAREY, JOSEPH                    5/04/06
                     Entered By.: ALTOMARO , NICKIE A.               5/04/06
   As I had not received any contact from anyone at the State Attorney's
   Office , on May 1, 2006, I piepared three arrest warrant requests and
   submitted them to the State Attorney's Office . The packages were
   delivered to the Crimes against Children Unit in care of ASA Lana
   Belohlavek . Jeffrey Epstein's arrest warrant was requested for 4
   counts of Unlawful Sexual activity with certain minors and one count
   of Lewd and Lascivious Molestation . Sarah Kellen, Epstein's
   assistant's, arrest warrant request was for 4 counts of Principal in
   the 1st degree Unlawful Sexual activity with certain minors and one
   count of Principal in the 1st degree Lewd and Lascivious Molestation .
   Haley Robson's arrest warrant request was for Lewd and Lascivious
   Acts on a victim under 16 years of age. The receipt of delivery was
   signed and brought back to the records division at the police
   department.
   on May 3 , 2 0 06, at approximately 2:54 pm, I received a telephone call
   from ASA Daliah Weiss on my cellular telephone . ASA Weiss advised she




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    has been taken off the Jeffrey Epstein case because her husband is
    employed with Attorney Jack Goldberger. Attorney Goldberger is the
    attorney of record for Jeffrey Epstein. His previous attorney, Guy
    Fronstin, has been fired from representation. ASA Lana Belohlavek has
    been assigned the case. ASA Weiss stated she can no longer speak
    about the Epstein case with me . I thanked her for her telephone call .
    ASA Weiss further stated that ASA Belohlavek would be calling me .


~**************************NARRATIVE            # 44 **************************
\                     Reported By : RECAREY , JOSEPH                    5 / 15/06
                      Entered By . : ALTOMARO , NICKIE A.               5 / 15/06

    On May 1 0, 2006 , information was received that Epstein ' s associate ,
    Leslie Wexner , The Limited Inc, CEO's, plane had arrived in West Palm
    Beach, PBIA. The plane, a Gulfstream 4 bearing a N900LS registration ,
    was on the tarmac at Galaxy Aviation. As Epstein had recently
    acquired the services of a new attorney, and the fact that Epstein's
    house is . currently under remodeling, it was believed that Epstein may
    be in Palm Beach. I conducted physical surveillance at the residence ,
    358 El Brillo Way. I observed a large construction crew conducting
    remodeling at the house. The contractor, David Norr, was observed
   driving a Ford Explorer, white in color. The vehicle has a Florida
   registration of F30QQF . Norr left Epstein's house and traveled north
   on County Road. Det Caristo and I conducted surveillance on Norr.
   Norr traveled to several construction sites and checked on certain
   jobs . Surveillance was discontinued on Norr and Det Caristo and I
   traveled to Galaxy Aviation. I observed the white plane with a blue
   stripe along the body and tail of the plane; the tail number was
   visible on the bottom of the tail, closer to the body of the plane.
   We maintained visual surveillance on the plane until 4:57 p.m., when a
   caravan of Cadillac Escalades drove onto the tarmac. We observed
   several people exit the vehicles and discovered that they were part of
   the executive team for Limited Inc . The executives were in Palm Beach
   County for an executive meeting for the day. They arrived in Palm
   Beach County on May 9, 2006 at 9:30 pm and were scheduled to leave on
   the 10th at 5:00 pm.
   On May 12, 2006, I met with ASA Lana Belohlavek at the State
   Attorney's Office. She explained that her boss , Barry Krischer , was
   requesting this case be taken to the Grand Jury again. I explained to
   her I had requested arrest warrants for Jeffrey Epstein, Sarah Kellen,
   and Haley Robson. I asked that she either issue the warrants or
   direct file, as so much time has elapsed since the original request to
   the Grand Jury . I explained that the Palm Beach Police Department had
   concluded the case in December of 2005 and has been waiting for the
   case to go forward . Belohlavek stated the original offer was again
   offered to the new defense attorney . She was waiting for their answer
   by Friday May 19, 2006.  She stated she would advise me of the answer .
t**** ********************* NARRATIVE            # 45 **************************
                         Reported By: RECAREY , JOSEPH                   6/05 / 06




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ne : 7/19 / 06                       PALM BEACH POLICE DEPARTMENT          Page:      86
ime : 15 : O1 : 3 7                        Incident Report              Program: CMS301L
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:tse No               1 - 05 - 000368                                    (Continued)
                                   Entered By. : ALTOMARO , NICKIE A.             6/06/06
     on May 22, 2006, I received several phone calls throughout the day
     from Mr . . . . who stated he had been followed aggressively by a private
     investigator. Mr . •stated that as he drove to and from work and
     running errands throughout the county, the same vehicle was behind him
     running other vehicles off th~ road in an attempt not to lose sight of
     Mr. ••~:vehicle .
    I explained to him as Mr. Epstein had retained new legal council it
    was possible it would be new private investigators following him to
    observe his daily activities . I also explained to him that there was
    a meeting scheduled with ASA Lana Belohlavek and Attorney Jack
    Goldberger at Mr. Krischer's office scheduled on June 1, 2006 at 9:00
    am . I attempted to call ASA Lana Belohlavek to inform her of the
    private investigators following Mr~owever ; she was on her vacation
    during the week of May 22 through May 30 2006.

    on May 23, 2006, I received other phone calls from Mr. and Mrs.-who
    advised they were able to acquire the private investigators license
    plate information. The subject following them was again driving very
    aggressively and caused Mrs .9it.o run off the road. Mrs . . . stated
    the vehicle is a green Chevy Monte Carlo bearing Florida tag I35-XGA .
    The vehicle is registered to Zachary Bechard of Jupiter Florida .
    Bechard is employed with Candor Investigations from Jupiter, Florida.
    Bechard is a licensed Private Investigator in the State of Florida.

   Since the discovery of the threat made against one of the victims in
   this case ii   , I requested subpoenas for all calls made to and
   received from.        •••during the month of March 2006 for her
   cell phone and home phone.   I had confirmed with Florida State
   University the exact dates of Spring Break for 2006. The Spring Break
   was from March 4, 2006 through March 12, 2006.   I received a subpoena
   from Sprint/Nextel with all calls made during the month of March 2006 .
   I reviewed the 989 calls made and received during the month of March
   2006.  I observed on March 7, 2006, • • • made and received thirty
   five calls during that day .

   Date           Time         Seconds     In/Out       To/From
   7-Mar-06       11:03   AM     492       Outbound    561XXXX

   7-Mar-06 11: 16 AM             6       Inbound      561XXXX
   7 - Mar-06 11:22 AM         887.2      Inbound      561XXXX

   7-Mar-06 11 : 37 AM          48        Outbound     9178553363

   7 - Mar - 06 11:39 AM        28.2      Inbound      212535683 1

   7 - Mar - 06 12:02 PM       727 . 2    Inbound     2125356831

  The table reflects the date of the calls , time of day (EST ) I duration




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.me:     15:01:37                     Incident Report                      Program: CMS301L
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.se No.         : 1- 05- 00036 8                                   ( Continued )
     of call in seconds, inbound or outbound calls and calls made to or
     from4'1•••phone. on March 7, 2006, at 11:03 am, •■ made a call   ..
     to the victim. .which lasted 492 seconds (8 minutes and 2 seconds).
    The victim then returned the call at 11:16 am which lasted 6 seconds.
      The victim then made contact with'll. . . at 11:22 am for 877.2 seconds
     (14 minutes and 6 seconds) . These sequences of calls were consistent
    with what the victim had described to me on the date of the
    intimidation. Immediately after speaking with the victim,          L makes
    a call to Sarah Kellen, Epstein's assistant, which lasts for
    forty-e}~h~ seconds. A call is.then i1;1ffi~diatelr received, a tel 7phone
    number re~istered to a Corporation affiliated with Jeffrey Epstein
    located at 457 Madison Ave in New York. An extensive computer check
    revealed 457 Madison Ave is a business address in which Epstein has
    his corporations assigned to. Epstein had corporation attorney,
    Darren Indyke, register the businesses and register himself as an
    agent . I also observed Epstein has his El Zorro Ranch Corporation,
    New York Strategy Group, Ghislaine Corporation, J Epstein and Company
    and the Financial Strategy Group registered to this same address.
    Finally, a third call is received by•■• at 1.2:02 pm from the same
    corporate number which lasts 12 minutes and 1 second. It should be
   noted that there is no further contact with either the victim during
   the month of March or April of 2006. I also noted that there was no
   further contact with Sarah Kellen or Jeffrey Epstein during the
   remainder of the month of March or April 2006.
   On June 1, 2006, ASA Lana Belohlavek telephoned me to inform me of the
   meeting that occurred with Atty. Jack Goldberger and her reference
   this case . She advised she would make her determination ,on whether to
   file on this case or not by Monday June 5 , 2006 .
    Inv Continues .

 ~************************NARRATI V E          # 46 **************************
                     Reported By: RECAREY, JOSEPH                      7/12/06
                     Entered By . : ALTOM.ARO, NICKIE A.               7/12/06
   On June 29, 2006, I had spoken to ASA Lana Belohlavic who informed me
   that the case would be sent to the Grand Jury for charges. She
   informed me that the grand jury would convene on July 19, 2006 to hear
   the Epstein case . Belohlavic stated State Attorney Barry Krisher made
   the determination to go the Grand Jury to hear the case.
  On July 12, 2006, I spoke with Mrs . . . . mother of the victim, - who
  inquired about the status of the case. I explained to her that I was
  told we would be going to the Grand Jury during the week of July 19 ,
  2006. She stated she had not been contacted as of yet by the State
  Attorney's Office for any information. I provided her wi th the
  telephone numbers to the State Attorney 1 s Office.
  Investigation continues . . .

 * * * * * * * ***** ** END OF REPORT*** * * * * * * * * * * * * * *




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         Case
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***** ***********************NARRATIVE         # 47 **************************
NA                      Reported By: RECAREY, JOSEPH                   8/03/06
                        Entered By.: ALTOMARO, NICKIE A.               8/03/06

     On July 18, 2006, I received a Grand .Jury letter to appear before the
     Grand Jury on July 19, 2006, reference the Jeffrey Epstein case. On
     July 19, 2006, I responded to the Grand Jury Room and testified before
     the grand jury. At the conclusion , ASA Belohlavec stated the grand
     jury returned with a true bill for Felony Solicitation of
     Prostitution.
     On July 25, 2006 , Epstein turned himself into the county jail and was
     released on a $3 , 000 bond. Epstein is to return for arraignment on
     August 25, 2006 at 8:45 am.
     ATT POLICE CLERKS: Please show this case cleared by arrest with the
     arrest of Jeffrey Epstein W/M 01-20-1953.

** End of Report**




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